          Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 1 of 37




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                             CONSUMER PRICE INDEX – DECEMBER 2022
The Consumer Price Index for All Urban Consumers (CPI-U) declined 0.1 percent in December on a
seasonally adjusted basis, after increasing 0.1 percent in November, the U.S. Bureau of Labor Statistics
reported today. Over the last 12 months, the all items index increased 6.5 percent before seasonal
adjustment.

The index for gasoline was by far the largest contributor to the monthly all items decrease, more than
offsetting increases in shelter indexes. The food index increased 0.3 percent over the month with the
food at home index rising 0.2 percent. The energy index decreased 4.5 percent over the month as the
gasoline index declined; other major energy component indexes increased over the month.

The index for all items less food and energy rose 0.3 percent in December, after rising 0.2 percent in
November. Indexes which increased in December include the shelter, household furnishings and
operations, motor vehicle insurance, recreation, and apparel indexes. The indexes for used cars and
trucks, and airline fares were among those that decreased over the month.

The all items index increased 6.5 percent for the 12 months ending December; this was the smallest 12-
month increase since the period ending October 2021. The all items less food and energy index rose 5.7
percent over the last 12 months. The energy index increased 7.3 percent for the 12 months ending
December, and the food index increased 10.4 percent over the last year; all of these increases were
smaller than for the 12-month period ending November.
Chart 1. One-month percent change in CPI for All Urban Consumers (CPI-U), seasonally adjusted, Dec. 2021 - Dec. 2022
Percent change


  1.4                                                      1.3
                                   1.2
  1.2                                              1.0
  1.0                     0.8
  0.8     0.6     0.6
  0.6                                                                               0.4     0.4
  0.4                                      0.3
  0.2                                                                       0.1                      0.1
                                                                    0.0
  0.0
 -0.2                                                                                                        -0.1

        Dec'21    Jan     Feb     Mar      Apr     May     Jun     Jul     Aug      Sep     Oct     Nov    Dec'22




                                   Ad Hoc Equity Group Exhibit 21
                                                 1
                   Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 2 of 37


Chart 2. 12-month percent change in CPI for All Urban Consumers (CPI-U), not seasonally adjusted, Dec. 2021 - Dec. 2022
Percent change
 10



  9



  8



  7



  6



  5
           Dec'21                 Jan      Feb   Mar      Apr   May    Jun   Jul     Aug      Sep      Oct    Nov   Dec'22

                                                  All items                  All items less food and energy




 Table A. Percent changes in CPI for All Urban Consumers (CPI-U): U.S. city average




   1 N o t s e a s o n a l l y adjusted.




                                                                      -2-
                                                  Ad Hoc Equity Group Exhibit 21
                                                                2
         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 3 of 37


Food

The food index increased 0.3 percent in December following a 0.5-percent increase in November. The
food at home index rose 0.2 percent in December. Three of the six major grocery store food group
indexes increased over the month. The index for meats, poultry, fish, and eggs increased 1.0 percent in
December, as the index for eggs rose 11.1 percent. The index for other food at home rose 0.4 percent
over the month, while the index for nonalcoholic beverages increased 0.1 percent in December.

In contrast, the fruits and vegetables index fell 0.6 percent over the month with the fresh fruit index
declining 1.9 percent. The index for dairy and related products decreased 0.3 percent in December, and
the index for cereals and bakery products was unchanged.

The food away from home index rose 0.4 percent in December, after increasing 0.5 percent in
November. The index for limited service meals increased 0.5 percent over the month and the index for
full service meals increased 0.1 percent.

The food at home index rose 11.8 percent over the last 12 months. The index for cereals and bakery
products rose 16.1 percent over the year. The remaining major grocery store food groups posted
increases ranging from 7.7 percent (meats, poultry, fish, and eggs) to 15.3 percent (dairy and related
products).

The index for food away from home rose 8.3 percent over the last year. The index for full service meals
rose 8.2 percent over the last 12 months, and the index for limited service meals rose 6.6 percent over
the same period.

Energy

The energy index fell 4.5 percent in December after falling 1.6 percent in November. The gasoline index
declined 9.4 percent over the month, following a 2.0-percent decrease in November. (Before seasonal
adjustment, gasoline prices fell 12.5 percent in December.) The index for natural gas rose over the
month, increasing 3.0 percent after decreasing 3.5 percent in November. The electricity index increased
1.0 percent in December.

The energy index rose 7.3 percent over the past 12 months. The gasoline index decreased 1.5 percent
over the span. The fuel oil index rose 41.5 percent over the last 12 months, the index for electricity rose
14.3 percent, and the index for natural gas increased 19.3 percent over the same period.

All items less food and energy

The index for all items less food and energy rose 0.3 percent in December, following a 0.2-percent
increase in November. The shelter index continued to increase, rising 0.8 percent over the month. The
rent index rose 0.8 percent over the month, and the owners’ equivalent rent index also rose 0.8 percent.
The index for lodging away from home increased 1.5 percent in December, after falling 0.7 percent in
November.

The shelter index was the dominant factor in the monthly increase in the index for all items less food
and energy, while other components were a mix of increases and declines. Among the other indexes that
rose in December was the index for household furnishings and operations, which increased 0.3 percent
over the month, while the index for motor vehicle insurance rose 0.6 percent, and the index for

                                                    -3-
                                 Ad Hoc Equity Group Exhibit 21
                                               3
         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 4 of 37


recreation increased 0.2 percent. The apparel index rose 0.5 percent in December, and the education
index increased 0.3 percent.

The medical care index rose 0.1 percent in December, after declining in the previous 2 months. The
index for hospital services increased 1.7 percent over the month. The physicians’ services index and the
prescription drugs index both rose 0.1 percent in December.

Indexes which declined over the month include the index for used cars and trucks, which fell 2.5 percent
in December, the sixth consecutive decline in that index. The index for airline fares fell 3.1 percent over
the month, following a 3.0-percent decrease in November. The new vehicles index declined 0.1 percent
in December, as did the personal care index.

The index for all items less food and energy rose 5.7 percent over the past 12 months. The shelter index
increased 7.5 percent over the last year, accounting for more than half of the total increase in all items
less food and energy. Other indexes with notable increases over the last year include household
furnishings and operations (+6.7 percent), medical care (+4.0 percent), new vehicles (+5.9 percent), and
recreation (+5.1 percent).

Not seasonally adjusted CPI measures

The Consumer Price Index for All Urban Consumers (CPI-U) increased 6.5 percent over the last 12
months to an index level of 296.797 (1982-84=100). For the month, the index decreased 0.3 percent
prior to seasonal adjustment.

The Consumer Price Index for Urban Wage Earners and Clerical Workers (CPI-W) increased 6.3
percent over the last 12 months to an index level of 291.051 (1982-84=100). For the month, the index
decreased 0.5 percent prior to seasonal adjustment.

The Chained Consumer Price Index for All Urban Consumers (C-CPI-U) increased 6.4 percent over the
last 12 months. For the month, the index decreased 0.2 percent on a not seasonally adjusted basis. Please
note that the indexes for the past 10 to 12 months are subject to revision.
_______________
The Consumer Price Index for January 2023 is scheduled to be released on Tuesday, February 14,
2023, at 8:30 a.m. (ET).



                       January 2023 Consumer Price Index Weight Update
 Starting with January 2023 data, BLS plans to update weights annually for the Consumer Price
 Index based on a single calendar year of data, using consumer expenditure data from 2021. This
 reflects a change from prior practice of updating weights biennially using two years of expenditure
 data.




                                                   -4-
                                Ad Hoc Equity Group Exhibit 21
                                              4
         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 5 of 37


Technical Note

Brief Explanation of the CPI
The Consumer Price Index (CPI) measures the change in prices paid by consumers for goods and
services. The CPI reflects spending patterns for each of two population groups: all urban consumers and
urban wage earners and clerical workers. The all urban consumer group represents about 93 percent of
the total U.S. population. It is based on the expenditures of almost all residents of urban or metropolitan
areas, including professionals, the self-employed, the poor, the unemployed, and retired people, as well
as urban wage earners and clerical workers. Not included in the CPI are the spending patterns of people
living in rural nonmetropolitan areas, farming families, people in the Armed Forces, and those in
institutions, such as prisons and mental hospitals. Consumer inflation for all urban consumers is
measured by two indexes, namely, the Consumer Price Index for All Urban Consumers (CPI-U) and the
Chained Consumer Price Index for All Urban Consumers (C-CPI-U).
The Consumer Price Index for Urban Wage Earners and Clerical Workers (CPI-W) is based on the
expenditures of households included in the CPI-U definition that meet two requirements: more than one-
half of the household's income must come from clerical or wage occupations, and at least one of the
household's earners must have been employed for at least 37 weeks during the previous 12 months. The
CPI-W population represents about 29 percent of the total U.S. population and is a subset of the CPI-U
population.
The CPIs are based on prices of food, clothing, shelter, fuels, transportation, doctors’ and dentists’
services, drugs, and other goods and services that people buy for day-to-day living. Prices are collected
each month in 75 urban areas across the country from about 6,000 housing units and approximately
22,000 retail establishments (department stores, supermarkets, hospitals, filling stations, and other types
of stores and service establishments). All taxes directly associated with the purchase and use of items are
included in the index. Prices of fuels and a few other items are obtained every month in all 75 locations.
Prices of most other commodities and services are collected every month in the three largest geographic
areas and every other month in other areas. Prices of most goods and services are obtained by personal
visit, telephone call, or web collection by the Bureau’s trained representatives.

In calculating the index, price changes for the various items in each location are aggregated using
weights, which represent their importance in the spending of the appropriate population group. Local
data are then combined to obtain a U.S. city average. For the CPI-U and CPI-W, separate indexes are
also published by size of city, by region of the country, for cross-classifications of regions and
population-size classes, and for 23 selected local areas. Area indexes do not measure differences in the
level of prices among cities; they only measure the average change in prices for each area since the base
period. For the C-CPI-U, data are issued only at the national level. The CPI-U and CPI-W are
considered final when released, but the C-CPI-U is issued in preliminary form and subject to three
subsequent quarterly revisions.
The index measures price change from a designed reference date. For most of the CPI-U and the CPI-W,
the reference base is 1982-84 equals 100. The reference base for the C-CPI-U is December 1999 equals
100. An increase of 7 percent from the reference base, for example, is shown as 107.000. Alternatively,
that relationship can also be expressed as the price of a base period market basket of goods and services
rising from $100 to $107.
Sampling Error in the CPI
The CPI is a statistical estimate that is subject to sampling error because it is based upon a sample of
retail prices and not the complete universe of all prices. BLS calculates and publishes estimates of the 1-

                                                    -5-
                                Ad Hoc Equity Group Exhibit 21
                                              5
         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 6 of 37


month, 2-month, 6-month, and 12-month percent change standard errors annually for the CPI-U. These
standard error estimates can be used to construct confidence intervals for hypothesis testing. For
example, the estimated standard error of the 1-month percent change is 0.03 percent for the U.S. all
items CPI. This means that if we repeatedly sample from the universe of all retail prices using the same
methodology, and estimate a percentage change for each sample, then 95 percent of these estimates will
be within 0.06 percent of the 1-month percentage change based on all retail prices. For example, for a 1-
month change of 0.2 percent in the all items CPI-U, we are 95 percent confident that the actual percent
change based on all retail prices would fall between 0.14 and 0.26 percent. For the latest data, including
information on how to use the estimates of standard error, see www.bls.gov/cpi/tables/variance-
estimates/home.htm.
Calculating Index Changes
Movements of the indexes from 1 month to another are usually expressed as percent changes rather than
changes in index points, because index point changes are affected by the level of the index in relation to
its base period, while percent changes are not. The following table shows an example of using index
values to calculate percent changes:
                                        Item A                      Item B                      Item C
  Year I                               112.500                     225.000                     110.000
  Year II                              121.500                     243.000                     128.000
  Change in index
                                          9.000                     18.000                       18.000
  points
  Percent change       9.0/112.500 x 100 = 8.0 18.0/225.000 x 100 = 8.0 18.0/110.000 x 100 = 16.4


Use of Seasonally Adjusted and Unadjusted Data
The Consumer Price Index (CPI) produces both unadjusted and seasonally adjusted data. Seasonally
adjusted data are computed using seasonal factors derived by the X-13ARIMA-SEATS seasonal
adjustment method. These factors are updated each February, and the new factors are used to revise the
previous 5 years of seasonally adjusted data. The factors are available at
www.bls.gov/cpi/tables/seasonal-adjustment/seasonal-factors-2022.xlsx. For more information on data
revision scheduling, please see the Factsheet on Seasonal Adjustment at www.bls.gov/cpi/seasonal-
adjustment/questions-and-answers.htm and the Timeline of Seasonal Adjustment Methodological
Changes at www.bls.gov/cpi/seasonal-adjustment/timeline-seasonal-adjustment-methodology-
changes.htm.
For analyzing short-term price trends in the economy, seasonally adjusted changes are usually preferred
since they eliminate the effect of changes that normally occur at the same time and in about the same
magnitude every year—such as price movements resulting from weather events, production cycles,
model changeovers, holidays, and sales. This allows data users to focus on changes that are not typical
for the time of year. The unadjusted data are of primary interest to consumers concerned about the prices
they actually pay. Unadjusted data are also used extensively for escalation purposes. Many collective
bargaining contract agreements and pension plans, for example, tie compensation changes to the
Consumer Price Index before adjustment for seasonal variation. BLS advises against the use of
seasonally adjusted data in escalation agreements because seasonally adjusted series are revised
annually.


                                                   -6-
                                Ad Hoc Equity Group Exhibit 21
                                              6
         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 7 of 37


Intervention Analysis
The Bureau of Labor Statistics uses intervention analysis seasonal adjustment (IASA) for some CPI
series. Sometimes extreme values or sharp movements can distort the underlying seasonal pattern of
price change. Intervention analysis seasonal adjustment is a process by which the distortions caused by
such unusual events are estimated and removed from the data prior to calculation of seasonal factors.
The resulting seasonal factors, which more accurately represent the seasonal pattern, are then applied to
the unadjusted data.
For example, this procedure was used for the motor fuel series to offset the effects of the 2009 return to
normal pricing after the worldwide economic downturn in 2008. Retaining this outlier data during
seasonal factor calculation would distort the computation of the seasonal portion of the time series data
for motor fuel, so it was estimated and removed from the data prior to seasonal adjustment. Following
that, seasonal factors were calculated based on this “prior adjusted” data. These seasonal factors
represent a clearer picture of the seasonal pattern in the data. The last step is for motor fuel seasonal
factors to be applied to the unadjusted data.
For the seasonal factors introduced for January 2022, BLS adjusted 72 series using intervention analysis
seasonal adjustment, including selected food and beverage items, motor fuels, electricity, and vehicles.
Revision of Seasonally Adjusted Indexes
Seasonally adjusted data, including the U.S. city average all items index levels, are subject to revision
for up to 5 years after their original release. Every year, economists in the CPI calculate new seasonal
factors for seasonally adjusted series and apply them to the last 5 years of data. Seasonally adjusted
indexes beyond the last 5 years of data are considered to be final and not subject to revision. For January
2022, revised seasonal factors and seasonally adjusted indexes for 2017 to 2021 were calculated and
published. For series which are directly adjusted using the Census X-13ARIMA-SEATS seasonal
adjustment software, the seasonal factors for 2021 will be applied to data for 2022 to produce the
seasonally adjusted 2022 indexes. Series which are indirectly seasonally adjusted by summing
seasonally adjusted component series have seasonal factors which are derived and are therefore not
available in advance.
Determining Seasonal Status
Each year the seasonal status of every series is reevaluated based upon certain statistical criteria. Using
these criteria, BLS economists determine whether a series should change its status from "not seasonally
adjusted" to "seasonally adjusted", or vice versa. If any of the 81 components of the U.S. city average all
items index change their seasonal adjustment status from seasonally adjusted to not seasonally adjusted,
not seasonally adjusted data will be used in the aggregation of the dependent series for the last 5 years,
but the seasonally adjusted indexes before that period will not be changed. For 2022, 22 of the 81
components of the U.S. city average all items index are seasonally adjusted.
Contact Information
For additional information about the CPI visit www.bls.gov/cpi or contact the CPI Information and
Analysis Section at 202-691-7000 or cpi_info@bls.gov.
For additional information on seasonal adjustment in the CPI visit www.bls.gov/cpi/seasonal-
adjustment/home.htm or contact the CPI seasonal adjustment section at 202-691-6968 or
cpiseas@bls.gov.
If you are deaf, hard of hearing, or have a speech disability, please dial 7-1-1 to access
telecommunications relay services.


                                                    -7-
                                 Ad Hoc Equity Group Exhibit 21
                                               7
                                   Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 8 of 37
Table 1. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022
    [1982-84=100, unless otherwise noted]
                                                                                                                                                Unadjusted percent   Seasonally adjusted percent
                                                                                                     Relative        Unadjusted indexes
                                                                                                                                                     change                    change
                                                                                                      impor-
                          Expenditure category                                                         tance                                     Dec.      Nov.      Sep.       Oct.      Nov.
                                                                                                        Nov.      Dec.      Nov.      Dec.       2021-     2022-     2022-     2022-      2022-
                                                                                                       2022       2021      2022      2022       Dec.      Dec.       Oct.     Nov.       Dec.
                                                                                                                                                 2022      2022      2022      2022       2022

All items............................................ .                                              100.000     278.802   297.711   296.797      6.5        -0.3      0.4       0.1        -0.1
   Food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    13.781     286.966   315.857   316.839     10.4         0.3      0.6       0.5         0.3
      Food at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    8.525     267.555   298.284   299.089     11.8         0.3      0.4       0.5         0.2
        Cereals and bakery products. . . . . . . . . . . .                                             1.118     297.279   344.393   345.029     16.1         0.2      0.8       1.1         0.0
        Meats, poultry, fish, and eggs. . . . . . . . . . . .                                          1.898     297.604   319.444   320.455      7.7         0.3      0.6      -0.2         1.0
        Dairy and related products. . . . . . . . . . . . . . .                                        0.811     235.442   271.307   271.376     15.3         0.0     -0.1       1.0        -0.3
        Fruits and vegetables. . . . . . . . . . . . . . . . . . . . .                                 1.431     321.931   349.462   349.134      8.4        -0.1     -0.9       1.4        -0.6
        Nonalcoholic beverages and beverage
           materials................................. .                                                0.981     186.723   209.507   210.324     12.6        0.4      0.5        0.7        0.1
        Other food at home....................... .                                                    2.285     230.809   261.583   262.985     13.9        0.5      0.9       -0.1        0.4
      Food away from home1..................... .                                                      5.257     317.372   342.266   343.559      8.3        0.4      0.9        0.5        0.4
    Energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      7.868     256.207   292.953   274.937      7.3       -6.1      1.8       -1.6        -4.5
      Energy commodities. . . . . . . . . . . . . . . . . . . . . . . . .                              4.308     296.391   339.663   297.625      0.4      -12.4      4.4       -2.0        -9.4
        Fuel oil1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.183     325.879   553.234   461.140     41.5      -16.6     19.8        1.7       -16.6
        Motor fuel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                4.052     291.510   329.954   288.979     -0.9      -12.4      4.0       -2.1        -9.2
          Gasoline (all types). . . . . . . . . . . . . . . . . . . . .                                3.951     290.185   326.649   285.757     -1.5      -12.5      4.0       -2.0        -9.4
      Energy services.............................. .                                                  3.560     228.199   260.220   263.825     15.6        1.4     -1.2       -1.1         1.5
        Electricity................................... .                                               2.610     227.974   258.864   260.548     14.3        0.7      0.1       -0.2         1.0
        Utility (piped) gas service. . . . . . . . . . . . . . . . .                                   0.950     224.366   258.872   267.683     19.3        3.4     -4.6       -3.5         3.0
    All items less food and energy. . . . . . . . . . . . . . . .                                     78.350     283.908   299.600   300.113      5.7        0.2      0.3        0.2        0.3
       Commodities less food and energy
          commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  20.882      160.850   165.291   164.304      2.1       -0.6     -0.4      -0.5        -0.3
          Apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2.409      121.068   126.728   124.587      2.9       -1.7     -0.7       0.2         0.5
          New vehicles. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    4.068      166.653   176.354   176.463      5.9        0.1      0.4       0.0        -0.1
          Used cars and trucks..................... .                                                  3.624      207.164   193.530   188.864     -8.8       -2.4     -2.4      -2.9        -2.5
          Medical care commodities1. . . . . . . . . . . . . . .                                       1.472      379.611   391.360   391.809      3.2        0.1      0.0       0.2         0.1
          Alcoholic beverages. . . . . . . . . . . . . . . . . . . . . . .                             0.877      265.410   279.629   280.755      5.8        0.4      0.8       0.7         0.5
          Tobacco and smoking products1. . . . . . . .                                                 0.520    1,308.024 1,380.951 1,379.589      5.5       -0.1      0.3       0.7        -0.1
       Services less energy services. . . . . . . . . . . . . .                                       57.469      359.559   383.179   384.906      7.0        0.5      0.5       0.4         0.5
          Shelter...................................... .                                             32.929      341.241   364.195   366.868      7.5        0.7      0.8       0.6         0.8
            Rent of primary residence. . . . . . . . . . . . .                                         7.447      355.931   382.562   385.649      8.3        0.8      0.7       0.8         0.8
            Owners’ equivalent rent of
              residences2........................... .                                                24.235     350.508   374.040   376.897      7.5         0.8      0.6       0.7        0.8
          Medical care services. . . . . . . . . . . . . . . . . . . . .                               6.788     578.555   602.333   602.395      4.1         0.0     -0.6      -0.7        0.1
            Physicians’ services1. . . . . . . . . . . . . . . . . . .                                 1.807     408.644   415.048   415.611      1.7         0.1      0.0       0.0        0.1
            Hospital services3. . . . . . . . . . . . . . . . . . . . . . .                            2.123     366.854   378.209   383.150      4.4         1.3                           1.7
          Transportation services. . . . . . . . . . . . . . . . . . .                                 6.018     326.063   374.248   373.598     14.6        -0.2     0.8       -0.1        0.2
            Motor vehicle maintenance and
              repair1. . . . . . . .......................... .                                        1.087     324.688   363.195   366.960     13.0         1.0      0.7       1.3         1.0
            Motor vehicle insurance. . . . . . . . . . . . . . . .                                     2.532     567.875   644.317   648.771     14.2         0.7      1.7       0.9         0.6
            Airline fares. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.630     208.954   292.656   268.519     28.5        -8.2     -1.1      -3.0        -3.1

1
  Not seasonally adjusted.
2
  Indexes on a December 1982=100 base.
3
  Indexes on a December 1996=100 base.




                                                                                                     Ad Hoc Equity Group Exhibit 21
                                                                                                                   8
                                    Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 9 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022
   [1982-84=100, unless otherwise noted]
                                                                                                                                                         Unadjusted percent
                                                                                                                                                                              Seasonally adjusted percent change
                                                                                                                                              Relative        change
                                                                                                                                            importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                             Expenditure category
                                                                                                                                               Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                               2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                                         2022         2022    2022          2022         2022

All items................................................................ .                                                                  100.000      6.5          -0.3     0.4           0.1         -0.1
  Food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13.781     10.4           0.3     0.6           0.5          0.3
      Food at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    8.525     11.8           0.3     0.4           0.5          0.2
        Cereals and bakery products................................ .                                                                          1.118     16.1           0.2     0.8           1.1          0.0
          Cereals and cereal products.............................. .                                                                          0.358     15.6           0.3     0.9           0.6         -0.3
               Flour and prepared flour mixes. . . . . . . . . . . . . . . . . . . . . . . . .                                                 0.059     23.4          -0.5     2.0           1.5         -1.0
               Breakfast cereal1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.149     13.0           1.1     0.7           0.4          1.1
               Rice, pasta, cornmeal................................... .                                                                      0.149     15.4          -0.1     1.3           0.7         -0.5
                    Rice1, 2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           13.8           0.5     1.2           0.8          0.5
               Bakery products1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.760     16.3           0.1     0.6           1.0          0.1
                    Bread1, 2................................................ .                                                                0.215     15.9           0.2     0.9           2.0          0.2
                         White bread1, 3...................................... .                                                                         17.7           1.3     1.7           1.7          1.3
                         Bread other than white1, 3. . . . . . . . . . . . . . . . . . . . . . . . . .                                                   14.0          -0.7     0.0           2.3         -0.7
                    Fresh biscuits, rolls, muffins2. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.116     16.3          -0.3     0.7           2.2          0.0
                    Cakes, cupcakes, and cookies1..................... .                                                                       0.187     17.1           0.3     0.1           1.3          0.3
                         Cookies1, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                18.2           1.0     0.3           1.5          1.0
                         Fresh cakes and cupcakes1, 3. . . . . . . . . . . . . . . . . . . . .                                                           14.9          -0.4    -0.8           1.5         -0.4
                    Other bakery products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.242     15.9           0.1     1.1           0.7          0.0
                         Fresh sweetrolls, coffeecakes, doughnuts1, 3. . . .                                                                             13.5           2.6    -1.9          -0.3          2.6
                         Crackers, bread, and cracker products3. . . . . . . . .                                                                         16.0          -0.3     2.1           1.9         -1.3
                         Frozen and refrigerated bakery products, pies,
                               tarts, turnovers1, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       18.4          -1.1     2.2          -0.4         -1.1
        Meats, poultry, fish, and eggs............................... .                                                                        1.898      7.7           0.3     0.6          -0.2          1.0
          Meats, poultry, and fish. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1.751      4.5          -0.6    -0.1          -0.4          0.1
               Meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.101      2.0          -0.5     0.2          -0.4          0.6
                    Beef and veal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.496     -3.1           0.0    -0.1          -0.8          1.3
                         Uncooked ground beef1. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          0.183      0.7          -0.1    -0.5          -0.9         -0.1
                         Uncooked beef roasts1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . .                                         0.073     -3.5           1.1    -2.3          -1.3          1.1
                         Uncooked beef steaks2............................ .                                                                   0.192     -5.4          -0.5     0.3           0.0          0.9
                         Uncooked other beef and veal1, 2. . . . . . . . . . . . . . . . .                                                     0.048     -6.7           0.6    -1.8          -1.5          0.6
                    Pork..................................................... .                                                                0.353      1.5          -1.9    -0.6          -0.3         -0.2
                         Bacon, breakfast sausage, and related
                               products2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.157      1.1         -1.5     -0.9          -1.0         -0.5
                               Bacon and related products3................... .                                                                          -3.7         -3.6     -0.1          -1.8         -2.9
                               Breakfast sausage and related products2, 3. . .                                                                            9.0          2.0     -2.0           0.0          2.1
                         Ham.................................................. .                                                               0.065      5.7         -5.6      1.1           0.5         -1.1
                               Ham, excluding canned3. . . . . . . . . . . . . . . . . . . . . . . .                                                      5.2         -6.2      1.3           0.8         -1.3
                         Pork chops1. . . . . . . . . . . . . . . . . . . ...................... .                                             0.051      2.9          0.2      0.2           1.1          0.2
                         Other pork including roasts, steaks, and ribs2.. .                                                                    0.080     -1.8         -1.1     -2.1          -1.7          0.5
                    Other meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.252     14.7          0.6      2.0           0.4          0.3
                         Frankfurters3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  18.2          2.8     -2.3           0.1          3.9
                         Lunchmeats1, 2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        15.1         -0.2      3.4           0.4         -0.2
                    Poultry1................................................. .                                                                0.363     12.2         -0.6     -1.1          -0.8         -0.6
                         Chicken1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.294     10.9         -0.6     -1.3          -0.8         -0.6
                               Fresh whole chicken1, 3. . . . . . . . . . . . . . . . . . . . . . . . . .                                                13.3         -0.3     -0.8           0.5         -0.3
                               Fresh and frozen chicken parts1, 3. . . . . . . . . . . . .                                                               10.3         -0.8     -1.6          -1.3         -0.8
                         Other uncooked poultry including turkey2. . . . . . . .                                                               0.069     18.1         -0.7     -0.1           1.8         -0.5
                    Fish and seafood. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.287      5.0         -0.8      0.0          -0.1         -0.7
                         Fresh fish and seafood1, 2......................... .                                                                 0.144      3.8         -1.0      0.6          -1.4         -1.0
                         Processed fish and seafood2. . . . . . . . . . . . . . . . . . . . . .                                                0.143      6.3         -0.7     -0.9           1.0          0.0
                               Shelf stable fish and seafood3. . . . . . . . . . . . . . . . . .                                                          8.6          1.9     -0.9           1.3          2.4
                               Frozen fish and seafood3....................... .                                                                          6.3         -1.7     -1.8           1.4         -1.0
               Eggs1...................................................... .                                                                   0.147     59.9         11.1     10.1           2.3         11.1



See footnotes at end of table.


                                                                                                      Ad Hoc Equity Group Exhibit 21
                                                                                                                    9
                          Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 10 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                             Unadjusted percent
                                                                                                                                                                  Seasonally adjusted percent change
                                                                                                                                  Relative        change
                                                                                                                                importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                    Expenditure category
                                                                                                                                   Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                   2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                             2022         2022    2022          2022         2022
       Dairy and related products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.811      15.3          0.0     -0.1           1.0         -0.3
         Milk2.......................................................... .                                                        0.205      12.5         -0.1     -0.2           0.8         -1.0
            Fresh whole milk3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 11.7         -0.2     -0.9           1.1         -0.6
            Fresh milk other than whole2, 3. . . . . . . . . . . . . . . . . . . . . . . . .                                                 13.5          0.1      0.1           0.8         -0.6
         Cheese and related products1............................ .                                                               0.262      12.8          0.5     -0.5           0.0          0.5
         Ice cream and related products. . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.123      15.0         -0.6      1.1           2.0         -1.1
         Other dairy and related products1, 2. . . . . . . . . . . . . . . . . . . . . .                                          0.222      21.4         -0.1      0.5           0.6         -0.1
       Fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1.431       8.4         -0.1     -0.9           1.4         -0.6
         Fresh fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               1.086       6.4         -0.5     -1.5           1.8         -1.1
            Fresh fruits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.574       3.4         -2.0     -2.4           2.3         -1.9
              Apples. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.076       6.6         -0.1     -0.8           3.2          0.2
              Bananas1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.078       2.4         -0.4     -1.1           0.5         -0.4
              Citrus fruits2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.161       2.5         -5.4     -2.5           2.8         -0.3
                Oranges, including tangerines3................... .                                                                           3.0         -7.2     -3.6           2.5         -1.7
              Other fresh fruits2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.260       3.3         -1.0     -2.4           1.8         -2.6
            Fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.512       9.8          1.2     -0.5           1.2         -0.1
              Potatoes................................................ .                                                          0.078      12.9          1.8     -1.9          -1.4          1.6
              Lettuce1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.069      24.9          4.0      3.3           8.9          4.0
              Tomatoes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.082       9.1          4.2      2.3           2.6          3.4
              Other fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.283       5.9         -0.6     -0.6           0.7         -1.3
            Processed fruits and vegetables2. . . . . . . . . . . . . . . . . . . . . .                                           0.345      15.5          1.3      1.1           0.4          0.7
              Canned fruits and vegetables2. . . . . . . . . . . . . . . . . . . . . . .                                          0.178      18.4          0.9      1.8           0.2          0.3
                Canned fruits2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   18.2          1.1      1.7           1.1         -0.9
                Canned vegetables2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             17.6          0.8      1.8          -0.5          0.4
              Frozen fruits and vegetables2. . . . . . . . . . . . . . . . . . . . . . . .                                        0.103      12.9          0.8      0.4           1.4          1.1
                Frozen vegetables3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          16.4          0.4      0.8           1.7          0.9
              Other processed fruits and vegetables including
                dried2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.064      11.9          2.7      0.5          -0.1          1.7
                Dried beans, peas, and lentils1, 2, 3. . . . . . . . . . . . . . .                                                            9.6          3.2      0.8          -0.7          3.2
       Nonalcoholic beverages and beverage materials. . . . . . . . .                                                             0.981      12.6          0.4      0.5           0.7          0.1
         Juices and nonalcoholic drinks2. . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.693      12.2          0.5      0.5           0.5          0.0
            Carbonated drinks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.290      13.0          1.2      1.2           0.4          1.1
            Frozen noncarbonated juices and drinks1, 2. . . . . . . . . .                                                         0.007       8.7          1.0      1.3           1.7          1.0
            Nonfrozen noncarbonated juices and drinks2. . . . . . . . .                                                           0.395      11.6          0.0      0.1           0.6         -0.7
         Beverage materials including coffee and tea2. . . . . . . . . . .                                                        0.288      13.8          0.0      0.3           1.0          0.2
            Coffee. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.186      14.3          0.0      1.2           0.5          0.0
              Roasted coffee3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 15.5          0.6      1.5           0.2          0.6
              Instant coffee1, 3....................................... .                                                                    10.8         -2.2     -0.3           2.0         -2.2
            Other beverage materials including tea1, 2. . . . . . . . . . . .                                                     0.102      12.9          0.1     -0.1           1.2          0.1
       Other food at home........................................... .                                                            2.285      13.9          0.5      0.9          -0.1          0.4
         Sugar and sweets1......................................... .                                                             0.290      12.2          0.4      0.7          -0.3          0.4
            Sugar and sugar substitutes. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.043      14.3          0.2      0.4           0.5          1.0
            Candy and chewing gum1, 2............................ .                                                               0.185      11.6          1.0      0.9           0.3          1.0
            Other sweets2............................................ .                                                           0.063      12.8         -1.0      1.0          -0.7         -0.3
         Fats and oils. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.261      23.2          1.5      2.1           0.0          1.5
            Butter and margarine2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.083      35.3          1.6      1.9           0.4          1.7
              Butter3.................................................. .                                                                    31.4          2.3      1.4           0.2          3.3
              Margarine1, 3........................................... .                                                                     43.8          1.9      1.3          -2.3          1.9
            Salad dressing2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.061      18.3         -0.1      4.1           1.0         -1.1
            Other fats and oils including peanut butter2. . . . . . . . . .                                                       0.117      18.2          2.2      0.9          -1.1          3.4
              Peanut butter1, 2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   7.4          1.8      0.7          -1.6          1.8
            Other foods............................................... .                                                          1.734      12.9          0.4      0.8           0.0          0.3
              Soups................................................... .                                                          0.101      15.7          1.6     -0.9          -2.0          0.9
              Frozen and freeze dried prepared foods. . . . . . . . . . .                                                         0.280      15.0          1.0      0.9          -0.9          1.1


See footnotes at end of table.


                                                                                           Ad Hoc Equity Group Exhibit 21
                                                                                                        10
                             Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 11 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                             Unadjusted percent
                                                                                                                                                                  Seasonally adjusted percent change
                                                                                                                                  Relative        change
                                                                                                                                importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                       Expenditure category
                                                                                                                                   Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                   2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                             2022         2022    2022          2022         2022
               Snacks1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            0.374      11.0         -0.2     1.3          -0.8          -0.2
               Spices, seasonings, condiments, sauces. . . . . . . . . . .                                                         0.330      11.8          0.6     0.8           0.2           1.0
                  Salt and other seasonings and spices2, 3. . . . . . . .                                                                      6.5         -0.4     0.8          -0.5          -0.5
                  Olives, pickles, relishes1, 2, 3. . . . . . . . . . . . . . . . . . . . . . .                                               15.8          0.6     1.8           0.8           0.6
                  Sauces and gravies2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             15.2          1.1    -0.4           0.2           1.5
                  Other condiments3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         8.0          3.1     0.7          -1.6           3.8
               Baby food1, 2........................................... .                                                          0.045      10.7         -0.2     1.8           0.3          -0.2
               Other miscellaneous foods2. . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.605      13.6          0.2     0.6           0.2          -0.3
                  Prepared salads3, 4................................. .                                                                       9.1          0.1    -1.2          -0.3          -0.9
      Food away from home1......................................... .                                                              5.257       8.3          0.4     0.9           0.5           0.4
        Full service meals and snacks1, 2........................... .                                                             2.438       8.2          0.1     1.1           0.4           0.1
        Limited service meals and snacks1, 2. . . . . . . . . . . . . . . . . . . . . . .                                          2.532       6.6          0.5     0.8           0.6           0.5
        Food at employee sites and schools1, 2. . . . . . . . . . . . . . . . . . . .                                              0.077     129.6          0.6     3.8           1.7           0.6
          Food at elementary and secondary schools1, 3, 5. . . . . . .                                                                       305.2          0.2                                 0.2
        Food from vending machines and mobile vendors1, 2. . . .                                                                   0.038      14.8          1.4     3.7          0.5            1.4
        Other food away from home1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.171       6.0          1.0     0.2          0.0            1.0
  Energy............................................................... .                                                          7.868       7.3         -6.1     1.8          -1.6          -4.5
    Energy commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    4.308       0.4        -12.4     4.4          -2.0          -9.4
      Fuel oil and other fuels....................................... .                                                            0.257      26.0        -11.7    10.5          -0.4         -11.9
        Fuel oil1...................................................... .                                                          0.183      41.5        -16.6    19.8           1.7         -16.6
        Propane, kerosene, and firewood6....................... .                                                                  0.073       2.6          0.7     0.0          -2.6          -0.2
      Motor fuel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4.052      -0.9        -12.4     4.0          -2.1          -9.2
        Gasoline (all types). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      3.951      -1.5        -12.5     4.0          -2.0          -9.4
            Gasoline, unleaded regular3. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                -2.0        -12.8     4.1          -1.9          -9.6
            Gasoline, unleaded midgrade3, 7. . . . . . . . . . . . . . . . . . . . . . .                                                       0.2        -11.0     2.9          -1.4          -8.3
            Gasoline, unleaded premium3. . . . . . . . . . . . . . . . . . . . . . . . . .                                                     1.6        -10.8     3.9          -2.7          -8.2
        Other motor fuels1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.101      32.3         -8.5     3.0           2.3          -8.5
    Energy services.................................................. .                                                            3.560      15.6          1.4    -1.2          -1.1           1.5
      Electricity....................................................... .                                                         2.610      14.3          0.7     0.1          -0.2           1.0
      Utility (piped) gas service. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.950      19.3          3.4    -4.6          -3.5           3.0
  All items less food and energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          78.350        5.7          0.2     0.3           0.2           0.3
     Commodities less food and energy commodities. . . . . . . . . . . .                                                         20.882        2.1         -0.6    -0.4          -0.5          -0.3
        Household furnishings and supplies8. . . . . . . . . . . . . . . . . . . . . . .                                          3.949        7.3          0.1    -0.2           0.4           0.2
          Window and floor coverings and other linens1, 2. . . . . . . .                                                          0.292        4.8         -0.4     0.5          -1.8          -0.4
            Floor coverings1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.069       12.5          0.0    -1.4           0.6           0.0
            Window coverings1, 2.................................... .                                                            0.056        3.2          1.7    -1.2          -1.4           1.7
            Other linens1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.167        2.4         -1.2     1.9          -2.8          -1.2
          Furniture and bedding1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.952        4.7          0.0    -1.2          -0.8           0.0
            Bedroom furniture1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.305        2.7          0.6    -0.9          -0.5           0.6
            Living room, kitchen, and dining room furniture1, 2. . .                                                              0.471        6.3         -0.6    -1.9          -0.3          -0.6
            Other furniture2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.167        3.7          0.5    -0.8          -2.7           0.0
          Appliances2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.240        1.1          0.1    -0.5           0.9           0.2
            Major appliances2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.076       -0.6          1.6    -0.1           0.6           1.0
              Laundry equipment1, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           0.7          4.1    -7.8          -2.7           4.1
            Other appliances1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.161       1.9         -0.7    -1.0          -0.1          -0.7
          Other household equipment and furnishings2. . . . . . . . . . .                                                          0.549       3.3         -1.1    -0.8          -1.2          -0.3
            Clocks, lamps, and decorator items1. . . . . . . . . . . . . . . . . .                                                 0.331       2.1         -2.6     0.4          -1.2          -2.6
            Indoor plants and flowers9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.099       6.3          0.9     0.9           1.1           0.1
            Dishes and flatware1, 2.................................. .                                                            0.049       7.8          0.7    -3.7          -3.6           0.7
            Nonelectric cookware and tableware1, 2. . . . . . . . . . . . . . .                                                    0.070       2.0          1.6    -1.0          -2.6           1.6
          Tools, hardware, outdoor equipment and supplies2. . . .                                                                  0.955      10.6          1.0     0.4           0.6           1.4
            Tools, hardware and supplies1, 2. . . . . . . . . . . . . . . . . . . . . . .                                          0.251      13.8          1.2     1.4          -0.8           1.2
            Outdoor equipment and supplies2. . . . . . . . . . . . . . . . . . . . . .                                             0.474       9.0          1.0    -0.3           0.7           1.5


See footnotes at end of table.


                                                                                             Ad Hoc Equity Group Exhibit 21
                                                                                                          11
                         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 12 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                          Unadjusted percent
                                                                                                                                                               Seasonally adjusted percent change
                                                                                                                               Relative        change
                                                                                                                             importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                    Expenditure category
                                                                                                                                Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                          2022         2022    2022          2022         2022
         Housekeeping supplies1................................... .                                                           0.961      11.6          0.3      0.7          0.6           0.3
            Household cleaning products1, 2. . . . . . . . . . . . . . . . . . . . . . . .                                     0.345       9.8         -0.1      1.0          0.2          -0.1
            Household paper products1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.225      14.9          1.4      0.4          2.2           1.4
            Miscellaneous household products1, 2. . . . . . . . . . . . . . . . .                                              0.390      11.4          0.0      0.6          0.1           0.0
       Apparel......................................................... .                                                      2.409       2.9         -1.7     -0.7          0.2           0.5
         Men’s and boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.602       2.2         -0.7     -0.6          0.3           1.6
            Men’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..... .                 0.465       2.9         -1.2      0.0          0.7           1.3
               Men’s suits, sport coats, and outerwear. . . . . . . . . . . .                                                  0.076       8.3         -2.4     -2.0          3.7           1.9
               Men’s underwear, nightwear, swimwear, and
                 accessories1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.156        1.6        -1.4      0.4          -1.1         -1.4
               Men’s shirts and sweaters2. . . . . . . . . . . . . . . . . . . . . . . . . . .                                 0.114        2.7        -0.6     -2.4           1.3          2.1
               Men’s pants and shorts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.114        1.5        -0.7      1.5          -1.1          1.1
            Boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.137        0.0         1.1     -1.7          -0.4          2.4
         Women’s and girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.956        4.1        -2.9      0.2           0.0         -0.3
            Women’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.803        3.9        -3.2      0.6           0.4         -0.3
               Women’s outerwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.056       -0.6        -1.5     -3.8          -1.3          2.8
               Women’s dresses..................................... .                                                          0.087       -2.3        -6.2     -2.4           1.2         -2.4
               Women’s suits and separates2...................... .                                                            0.386        4.5        -2.8      0.2           0.2          1.2
               Women’s underwear, nightwear, swimwear, and
                 accessories2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.266        6.2        -3.1      2.2          -0.1         -0.7
            Girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.153        5.1        -1.3     -1.6          -2.2         -0.6
         Footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.586        0.8        -1.8     -1.1           0.1         -0.2
            Men’s footwear1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.199        0.5        -2.4     -0.9           0.2         -2.4
            Boys’ and girls’ footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.113        2.9         0.1     -1.2          -0.7          0.8
            Women’s footwear....................................... .                                                          0.274        0.1        -2.1     -1.6           0.1         -0.6
         Infants’ and toddlers’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.112        5.0        -0.7     -3.2           1.6          0.8
         Jewelry and watches6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.153        5.0         1.2     -2.9           0.9          3.3
            Watches1, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.029        1.5        -0.1     -0.1           0.7         -0.1
            Jewelry6................................................... .                                                      0.124        5.9         1.6     -3.2           1.2          3.7
       Transportation commodities less motor fuel8. . . . . . . . . . . . . .                                                  8.212       -0.9        -1.0     -0.9          -1.3         -1.2
         New vehicles................................................ .                                                        4.068        5.9         0.1      0.4           0.0         -0.1
            New cars3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      6.2         0.2      0.3          -0.2         -0.1
            New trucks3, 10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          6.0         0.1      0.4           0.1          0.0
         Used cars and trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     3.624       -8.8        -2.4     -2.4          -2.9         -2.5
         Motor vehicle parts and equipment1. . . . . . . . . . . . . . . . . . . . . .                                         0.435        9.9         0.1      0.3           0.6          0.1
            Tires1...................................................... .                                                     0.272        8.7         0.5     -0.1           0.2          0.5
            Vehicle accessories other than tires1, 2. . . . . . . . . . . . . . . .                                            0.164       11.8        -0.6      1.1           1.2         -0.6
               Vehicle parts and equipment other than tires1, 3. . .                                                                        8.8        -1.2      0.4           1.8         -1.2
               Motor oil, coolant, and fluids1, 3. . . . . . . . . . . . . . . . . . . . . .                                               19.1         0.3      4.4          -0.3          0.3
       Medical care commodities1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1.472        3.2         0.1      0.0           0.2          0.1
         Medicinal drugs1, 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.369        2.8         0.0      0.0           0.1          0.0
            Prescription drugs1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.995        1.8         0.1     -0.1          -0.2          0.1
            Nonprescription drugs1, 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.375        5.4        -0.4      0.4           0.7         -0.4
         Medical equipment and supplies1, 8...................... .                                                            0.103        9.2         2.3     -0.6           1.7          2.3
       Recreation commodities8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1.874        4.1        -0.1      0.7          -0.4          0.1
         Video and audio products8................................ .                                                           0.271       -7.5        -1.1      0.9          -1.2          0.0
            Televisions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.118      -14.4        -0.6     -0.1          -1.5          1.4
            Other video equipment2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.023       -8.6        -1.9     -2.8          -3.1          0.0
            Audio equipment1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.072       -0.6        -2.4      2.9          -1.0         -2.4
            Recorded music and music subscriptions1, 2. . . . . . . . .                                                        0.051        1.4         0.1      2.0           0.4          0.1
         Pets and pet products1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.575       12.6         0.1      1.3           0.5          0.1
            Pet food1, 2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     15.2         0.4      1.0           0.8          0.4
            Purchase of pets, pet supplies, accessories1, 2, 3. . . .                                                                       8.7         0.1      1.4          -0.4          0.1
         Sporting goods1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.549        3.5        -0.5      1.6           0.0         -0.5


See footnotes at end of table.


                                                                                         Ad Hoc Equity Group Exhibit 21
                                                                                                      12
                            Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 13 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                               Unadjusted percent
                                                                                                                                                                    Seasonally adjusted percent change
                                                                                                                                    Relative        change
                                                                                                                                  importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                       Expenditure category
                                                                                                                                     Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                     2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                               2022         2022    2022          2022         2022
            Sports vehicles including bicycles1. . .................. .                                                              0.315       2.9        -0.6      2.6           0.7         -0.6
            Sports equipment1....................................... .                                                               0.223       4.3        -0.2      0.3          -0.9         -0.2
         Photographic equipment and supplies. . . . . . . . . . . . . . . . . . .                                                    0.020       5.9         1.2     -1.7          -1.3          3.5
            Photographic equipment2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  5.1         1.0     -2.7          -1.5          3.2
         Recreational reading materials1. . . . . . . . . . . . . . . . . . . . . . . . . . .                                        0.095       4.4        -0.1     -1.0          -0.8         -0.1
            Newspapers and magazines1, 2. . . . . . . . . . . . . . . . . . . . . . . .                                              0.056       6.5         0.0     -0.1          -2.2          0.0
            Recreational books1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.039       1.5        -0.1     -2.2           1.3         -0.1
         Other recreational goods2................................. .                                                                0.364       2.1         0.9     -0.9          -1.4          0.9
            Toys. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.281       1.3         1.0     -1.1          -1.4          1.0
              Toys, games, hobbies and playground
                 equipment2, 3........................................ .                                                                         3.5         0.3     -0.1          -0.3         -0.1
            Sewing machines, fabric and supplies1, 2. . . . . . . . . . . . .                                                        0.026       6.3         3.6     -1.6          -6.3          3.6
            Music instruments and accessories1, 2. . . . . . . . . . . . . . . .                                                     0.042       5.5        -1.1      0.6           1.8         -1.1
       Education and communication commodities8. . . . . . . . . . . . . .                                                           0.725     -10.1        -0.9     -0.9          -1.6         -0.8
         Educational books and supplies1. . . . . . . . . . . . . . . . . . . . . . . . .                                            0.086       5.4         0.2      0.2           0.1          0.2
            College textbooks1, 3, 11. . ............................... .                                                                       6.3         0.2      0.0           0.0          0.2
         Information technology commodities8. . . . . . . . . . . . . . . . . . . .                                                  0.639     -11.8        -1.1     -1.0          -1.8         -0.9
            Computers, peripherals, and smart home
              assistants1, 4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.326      -5.8        -2.4     -0.3          -2.7         -2.4
            Computer software and accessories1, 2. . . . . . . . . . . . . . .                                                       0.019      -3.1        -0.9     -2.1          -2.2         -0.9
            Telephone hardware, calculators, and other
              consumer information items2. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.295     -18.0         0.4     -1.8          -0.8          0.7
              Smartphones1, 3, 12.................................... .                                                                        -22.2         0.7     -5.9          -1.4          0.7
       Alcoholic beverages. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.877       5.8         0.4      0.8           0.7          0.5
         Alcoholic beverages at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.583       5.3         0.2      0.5           0.8          0.6
            Beer, ale, and other malt beverages at home. . . . . . . .                                                               0.225       8.6         0.9      0.5           1.3          1.3
            Distilled spirits at home1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.105       1.7        -0.1      0.5           0.9         -0.1
              Whiskey at home1, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           1.6         0.1      0.1           0.9          0.1
              Distilled spirits, excluding whiskey, at home1, 3. . . .                                                                           1.5        -0.3      0.5           0.8         -0.3
            Wine at home1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.253       3.9        -0.2      0.3          -0.2         -0.2
         Alcoholic beverages away from home1. . . . . . . . . . . . . . . . . .                                                      0.294       6.8         0.8      1.2           0.3          0.8
            Beer, ale, and other malt beverages away from
              home1, 2, 3. . . . . . . . . . . . . . . ............................... .                                                         6.1         0.4      0.7          0.1           0.4
            Wine away from home1, 2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  7.8         1.0      1.2          0.1           1.0
            Distilled spirits away from home1, 2, 3. . . . . . . . . . . . . . . . . .                                                           7.4         1.4      1.1          0.8           1.4
       Other goods8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             1.364       7.2        -0.1      0.6          0.6          -0.1
         Tobacco and smoking products1. . . . . . . . . . . . . . . . . . . . . . . . . .                                            0.520       5.5        -0.1      0.3          0.7          -0.1
            Cigarettes1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0.450       5.5        -0.1      0.5          0.7          -0.1
            Tobacco products other than cigarettes1, 2. . . . . . . . . . . .                                                        0.065       5.1        -0.2     -1.1          0.5          -0.2
         Personal care products1................................... .                                                                0.653       7.5        -0.1      0.4          0.2          -0.1
            Hair, dental, shaving, and miscellaneous personal
              care products1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.338       9.9         0.5      0.8          0.5           0.5
            Cosmetics, perfume, bath, nail preparations and
              implements1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.305      5.0         -0.8      0.0          -0.2         -0.8
         Miscellaneous personal goods1, 2. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.190     10.8          0.1      1.9           2.0          0.1
            Stationery, stationery supplies, gift wrap3. . . . . . . . . . . . .                                                               16.4          2.7      4.2           2.9          2.9
     Services less energy services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              57.469       7.0          0.5      0.5           0.4          0.5
       Shelter.......................................................... .                                                         32.929       7.5          0.7      0.8           0.6          0.8
         Rent of shelter13............................................ .                                                           32.569       7.6          0.7      0.7           0.6          0.8
            Rent of primary residence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  7.447       8.3          0.8      0.7           0.8          0.8
            Lodging away from home2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.887       3.2         -0.4      4.9          -0.7          1.5
              Housing at school, excluding board13. . . . . . . . . . . . . . .                                                     0.124       2.9          0.1      0.1           0.2          0.2
              Other lodging away from home including hotels
                 and motels. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.762        3.2        -0.5      5.6          -0.9          1.7
            Owners’ equivalent rent of residences13. . . . . . . . . . . . . .                                                     24.235        7.5         0.8      0.6           0.7          0.8


See footnotes at end of table.


                                                                                              Ad Hoc Equity Group Exhibit 21
                                                                                                           13
                         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 14 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                        Unadjusted percent
                                                                                                                                                             Seasonally adjusted percent change
                                                                                                                             Relative        change
                                                                                                                           importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                   Expenditure category
                                                                                                                              Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                              2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                        2022         2022    2022          2022         2022
              Owners’ equivalent rent of primary residence13. . .                                                           22.978       7.5          0.8      0.6          0.7           0.8
           Tenants’ and household insurance1, 2. . . . . . . . . . . . . . . . .                                             0.360       0.4          0.1      0.3          0.1           0.1
       Water and sewer and trash collection services2. . . . . . . . . . .                                                   1.089       4.9          0.2      0.0          0.3           0.3
         Water and sewerage maintenance. . . . . . . . . . . . . . . . . . . . . . .                                         0.782       4.5          0.2     -0.1          0.2           0.3
         Garbage and trash collection1, 10. . . . . . . . . . . . . . . . . . . . . . . . .                                  0.308       6.1          0.2      0.5          0.5           0.2
       Household operations1, 2..................................... .
         Domestic services1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.235      3.7          1.7                   -3.0          1.7
         Gardening and lawncare services1, 2. . . . . . . . . . . . . . . . . . . . .
         Moving, storage, freight expense1, 2. . . . . . . . . . . . . . . . . . . . . .                                      0.100      1.1         -1.3      0.1          -1.2         -1.3
         Repair of household items1, 2............................. .
       Medical care services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6.788      4.1          0.0     -0.6          -0.7          0.1
         Professional services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   3.455      3.0          0.0      0.2           0.1          0.1
           Physicians’ services1.................................... .                                                        1.807      1.7          0.1      0.0           0.0          0.1
           Dental services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.920      6.4          0.1      0.2           1.1          0.2
           Eyeglasses and eye care1, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 0.352      1.7          0.4      0.1          -2.5          0.4
           Services by other medical professionals1, 6. . . . . . . . . . .                                                   0.376      2.1         -0.9      0.0          -0.4         -0.9
         Hospital and related services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             2.491      4.6          1.1     -0.2          -0.3          1.5
           Hospital services14. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   2.123      4.4          1.3                                 1.7
              Inpatient hospital services14, 3. . . . . . . ................ .                                                           4.1          1.2                                 1.5
              Outpatient hospital services3, 6. . . . . . . . . . . . . . . . . . . . . . .                                              4.7          1.4                                 1.7
           Nursing homes and adult day services14. . . . . . . . . . . . . .                                                  0.205      4.7          0.3      0.0           0.4          0.5
           Care of invalids and elderly at home1, 5. . . . . . . . . . . . . . .                                              0.163      6.1          0.2      0.5           0.0          0.2
         Health insurance1, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0.842      7.9         -3.4     -4.0          -4.3         -3.4
       Transportation services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   6.018     14.6         -0.2      0.8          -0.1          0.2
         Leased cars and trucks1, 11. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.849                   1.5     -0.5          -1.9          1.5
         Car and truck rental2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.141     -4.9         -3.3     -0.5          -2.4         -1.6
         Motor vehicle maintenance and repair1. . . . . . . . . . . . . . . . . .                                             1.087     13.0          1.0      0.7           1.3          1.0
           Motor vehicle body work1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.053     10.1          0.2      1.4           0.4          0.2
           Motor vehicle maintenance and servicing1. . . . . . . . . . . .                                                    0.589      9.2          0.4      1.2           0.8          0.4
           Motor vehicle repair1, 2.................................. .                                                       0.400     19.5          2.1     -0.1           2.0          2.1
         Motor vehicle insurance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2.532     14.2          0.7      1.7           0.9          0.6
         Motor vehicle fees1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.496      1.8          0.1     -0.3          -0.4          0.1
           State motor vehicle registration and license
              fees1, 2.................................................. .                                                    0.287      2.5          0.2      0.0          -0.3          0.2
           Parking and other fees1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.194      0.7          0.1     -0.8          -0.6          0.1
              Parking fees and tolls2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1.5          0.8     -1.0          -0.6          0.9
         Public transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.914     18.9         -5.3      0.5          -2.0         -2.8
           Airline fares............................................... .                                                     0.630     28.5         -8.2     -1.1          -3.0         -3.1
           Other intercity transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.091      2.0          0.6      1.6          -1.6          0.3
              Ship fare1, 2, 3.......................................... .                                                              -2.6          1.4     -0.2          -2.3          1.4
           Intracity transportation1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.191      4.0          1.8     -1.1           0.3          1.8
              Intracity mass transit1, 3, 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.2         -0.1      0.0           0.1         -0.1
       Recreation services8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                3.147      5.7          0.3      0.8           1.0          0.3
         Video and audio services8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           1.141      4.2         -0.5      0.7           0.9         -0.3
           Cable and satellite television service10. . . . . . . . . . . . . . . .                                            1.047      4.0         -0.6      0.8           1.0         -0.3
           Video discs and other media, including rental of
              video1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.094      7.6          0.3      0.2          -0.7          0.3
              Video discs and other media1, 2, 3. . . . . . . . . . . . . . . . . . .                                                    9.7         -0.9      0.0          -4.0         -0.9
              Rental of video discs and other media1, 2, 3. . . . . . . .                                                               10.2          2.2      0.2           1.7          2.2
         Pet services including veterinary2........................ .                                                         0.524      9.1         -0.2      0.2           0.7         -0.4
           Pet services1, 2, 3......................................... .                                                                7.5          0.6      0.7           1.1          0.6
           Veterinarian services2, 3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    8.8         -0.4      0.0           0.1         -0.4
         Photographers and photo processing1, 2. . . . . . . . . . . . . . . . .                                              0.030      5.8         -0.2      0.3           0.5         -0.2
         Other recreation services2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1.452      5.7          1.1      1.0           1.1          1.1


See footnotes at end of table.


                                                                                        Ad Hoc Equity Group Exhibit 21
                                                                                                     14
                          Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 15 of 37
Table 2. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by detailed expenditure
category, December 2022 — Continued
    [1982-84=100, unless otherwise noted]
                                                                                                                                           Unadjusted percent
                                                                                                                                                                Seasonally adjusted percent change
                                                                                                                                Relative        change
                                                                                                                              importance   Dec.         Nov.    Sep.           Oct.        Nov.
                                     Expenditure category
                                                                                                                                 Nov.      2021-        2022-   2022-         2022-        2022-
                                                                                                                                 2022      Dec.         Dec.     Oct.         Nov.         Dec.
                                                                                                                                           2022         2022    2022          2022         2022
             Club membership for shopping clubs, fraternal, or
               other organizations, or participant sports fees1, 2. .                                                           0.634       5.2          0.7      1.2          0.2           0.7
             Admissions1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.458       5.7          1.1      0.8          3.5           1.1
               Admission to movies, theaters, and
                  concerts1, 2, 3........................................ .                                                                 6.5         -0.3      0.9           1.6         -0.3
               Admission to sporting events1, 2, 3. . . . . . . . . . . . . . . . . . .                                                    -1.5          4.5     -1.6           7.5          4.5
             Fees for lessons or instructions1, 6. . . . . . . . . . . . . . . . . . . . .                                      0.171       7.8          2.6      0.4          -0.8          2.6
        Education and communication services8. . . . . . . . . . . . . . . . . . .                                              5.316       2.4          0.2      0.1           1.0          0.3
          Tuition, other school fees, and childcare................ .                                                           2.502       3.3          0.1      0.1           0.3          0.3
             College tuition and fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1.428       2.3          0.1      0.1           0.2          0.3
             Elementary and high school tuition and fees. . . . . . . . .                                                       0.315       3.7          0.0      0.2           0.3          0.3
             Day care and preschool9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.631       5.4          0.2      0.2           0.6          0.3
             Technical and business school tuition and fees1, 2.. .                                                             0.038       1.5          0.3      0.2          -0.1          0.3
          Postage and delivery services2. . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.084       4.6          0.0      3.6           0.2          0.2
             Postage. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.075       3.6          0.0      4.2           0.2          0.2
             Delivery services2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.009      13.3          0.2     -1.5           0.4          0.1
          Telephone services1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1.807       1.9          0.3     -0.1           2.1          0.3
             Wireless telephone services1, 2. . . . . . . . . . . . . . . . . . . . . . . . .                                   1.501       1.3          0.2     -0.3           2.4          0.2
             Residential telephone services1, 8. . . . . . . . . . . . . . . . . . . . . .                                      0.306       4.9          0.7      0.5           0.7          0.7
          Internet services and electronic information
             providers1, 2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.915       1.1          0.1      0.5           0.9          0.1
        Other personal services1, 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1.366       5.5         -0.2      0.4           0.8         -0.2
          Personal care services1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.542       6.3          0.3      0.2           1.4          0.3
             Haircuts and other personal care services1, 2. . . . . . . .                                                       0.542       6.3          0.3      0.2           1.4          0.3
          Miscellaneous personal services1........................ .                                                            0.823       5.1         -0.4      0.5           0.4         -0.4
             Legal services1, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0.230       6.0          0.2     -0.1          -0.2          0.2
             Funeral expenses1, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.146       5.1          0.7      1.7           0.5          0.7
             Laundry and dry cleaning services1, 2. . . . . . . . . . . . . . . . .                                             0.154       7.1          0.4      0.8           1.6          0.4
             Apparel services other than laundry and dry
               cleaning1, 2............................................. .                                                      0.018      12.8          1.6      1.4          0.1           1.6
             Financial services1, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.192       1.8         -2.9     -0.1          0.3          -2.9
               Checking account and other bank services1, 2, 3. . .                                                                         2.4          0.2     -0.5          0.4           0.2
               Tax return preparation and other accounting
                  fees1, 2, 3............................................. .                                                                            -3.5      0.0          0.4          -3.5

1
  Not seasonally adjusted.
2
  Indexes on a December 1997=100 base.
3
  Special index based on a substantially smaller sample.
4
  Indexes on a December 2007=100 base.
5
  Indexes on a December 2005=100 base.
6
  Indexes on a December 1986=100 base.
7
  Indexes on a December 1993=100 base.
8
  Indexes on a December 2009=100 base.
9
  Indexes on a December 1990=100 base.
10
   Indexes on a December 1983=100 base.
11
   Indexes on a December 2001=100 base.
12
   Indexes on a December 2019=100 base.
13
   Indexes on a December 1982=100 base.
14
   Indexes on a December 1996=100 base.




                                                                                          Ad Hoc Equity Group Exhibit 21
                                                                                                       15
                                 Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 16 of 37
Table 3. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, special aggregate indexes,
December 2022
    [1982-84=100, unless otherwise noted]
                                                                                                                                               Unadjusted percent   Seasonally adjusted percent
                                                                                                      Relative       Unadjusted indexes
                                                                                                                                                    change                    change
                                                                                                       impor-
                     Special aggregate indexes                                                          tance                                   Dec.      Nov.      Sep.       Oct.      Nov.
                                                                                                         Nov.     Dec.      Nov.      Dec.      2021-     2022-     2022-     2022-      2022-
                                                                                                        2022      2021      2022      2022      Dec.      Dec.       Oct.     Nov.       Dec.
                                                                                                                                                2022      2022      2022      2022       2022

All items less food.................................. .                                               86.219     277.506   294.918   293.722     5.8       -0.4      0.4        0.0       -0.1
All items less shelter. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 67.071     257.431   274.960   272.711     5.9       -0.8      0.3       -0.2       -0.5
All items less food and shelter.................... .                                                 53.290     249.810   264.792   261.854     4.8       -1.1      0.2       -0.3       -0.7
All items less food, shelter, and energy. . . . . . . . . .                                           45.421     251.992   263.771   263.147     4.4       -0.2     -0.1       -0.1       -0.1
All items less food, shelter, energy, and used
   cars and trucks................................... .                                               41.797     252.533   267.127   266.999     5.7        0.0      0.1        0.1        0.2
All items less medical care........................ .                                                 91.740     266.729   285.524   284.562     6.7       -0.3      0.5        0.2       -0.1
All items less energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  92.132     283.593   301.126   301.705     6.4        0.2      0.3        0.2        0.3
Commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          38.971     208.602   222.112   218.607     4.8       -1.6      0.5       -0.3       -1.1
   Commodities less food, energy, and used
      cars and trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                17.257     154.329   161.993   161.642      4.7      -0.2      0.1        0.0        0.1
   Commodities less food. . . . . . . . . . . . . . . . . . . . . . . . . . .                         25.190     173.484   181.480   176.740      1.9      -2.6      0.4       -0.8       -1.9
   Commodities less food and beverages. . . . . . . .                                                 24.313     170.179   177.977   173.135      1.7      -2.7      0.4       -0.8       -2.0
Services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   61.029     347.429   371.672   373.549      7.5       0.5      0.4        0.3        0.6
   Services less rent of shelter1................... .                                                28.460     364.361   390.523   391.440      7.4       0.2     -0.1        0.0        0.4
  Services less medical care services. . . . . . . . . . .                                            54.240     329.918   354.160   356.168      8.0       0.6      0.5        0.5        0.7
Durables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   12.310     125.747   126.596   125.624     -0.1      -0.8     -0.7       -0.9       -0.8
Nondurables......................................... .                                                26.661     248.393   271.710   266.405      7.3      -2.0      0.9        0.0       -1.2
  Nondurables less food. . . . . . . . . . . . . . . . . . . . . . . . . . .                          12.880     215.952   234.670   224.406      3.9      -4.4      1.4       -0.4       -2.9
  Nondurables less food and beverages. . . . . . . .                                                  12.003     212.913   231.901   220.948      3.8      -4.7      1.5       -0.5       -3.1
  Nondurables less food, beverages, and
      apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       9.594     274.750   302.330   285.747      4.0      -5.5      2.1       -0.7       -4.3
  Nondurables less food and apparel. . . . . . . . . . . .                                            10.471     272.474   298.713   283.802      4.2      -5.0      1.9       -0.7       -4.1
Housing. . . . . . . . . . . . . . . . . . . . . . . ....................... .                        42.599     287.511   308.720   310.725      8.1       0.6      0.5        0.4        0.7
Education and communication2................... .                                                      6.041     143.844   144.852   144.922      0.7       0.0      0.0        0.7        0.1
  Education2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          2.588     277.904   286.792   287.177      3.3       0.1      0.1        0.3        0.3
  Communication2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3.454      76.298    75.464    75.452     -1.1       0.0     -0.1        1.0        0.0
      Information and information processing2. . . .                                                   3.369      71.986    71.103    71.091     -1.2       0.0     -0.2        1.0        0.0
      Information technology, hardware and
         services3..................................... .                                              1.562       7.427     7.110     7.083    -4.6       -0.4     -0.2       -0.2       -0.3
Recreation2.......................................... .                                                5.021     126.695   132.965   133.172     5.1        0.2      0.7        0.5        0.2
  Video and audio2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1.411     110.531   113.219   112.507     1.8       -0.6      0.7        0.5       -0.2
  Pets, pet products and services2. . . . . . . . . . . . . . .                                        1.099     188.497   209.095   209.069    10.9        0.0      0.7        0.6       -0.1
  Photography2..................................... .                                                  0.051      77.661    81.866    82.174     5.8        0.4     -0.5       -0.3        1.3
Food and beverages. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     14.659     285.556   313.467   314.459    10.1        0.3      0.6        0.5        0.3
  Domestically produced farm food.............. .                                                      7.179     276.523   308.940   309.885    12.1        0.3      0.6        0.0        0.3
Other services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            9.829     380.714   394.818   395.485     3.9        0.2      0.4        1.0        0.2
Apparel less footwear.............................. .                                                  1.823     112.104   118.110   116.146     3.6       -1.7     -0.5        0.3        0.7
Fuels and utilities................................... .                                               4.906     270.831   305.991   307.348    13.5        0.4     -0.4       -0.7        0.5
  Household energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      3.817     225.435   260.589   261.904    16.2        0.5     -0.5       -1.0        0.6
Medical care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          8.260     530.026   550.844   551.002     4.0        0.0     -0.5       -0.5        0.1
Transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           18.282     246.499   264.668   255.993     3.9       -3.3      0.7       -1.1       -2.5
  Private transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . .                       17.368     246.999   263.196   254.846     3.2       -3.2      0.7       -1.0       -2.5
      New and used motor vehicles2. . . . . . . . . . . . . . .                                        8.767     124.853   126.795   125.674     0.7       -0.9     -0.9       -1.5       -1.0
Utilities and public transportation. . . . . . . . . . . . . . . . . .                                 8.418     231.516   254.051   254.138     9.8        0.0     -0.3        0.1        0.5
Household furnishings and operations. . . . . . . . . . .                                              4.764     136.787   145.568   145.972     6.7        0.3      0.0        0.0        0.3
Other goods and services. . . . . . . . . . . . . . . . . . . . . . . . . .                            2.729     487.131   518.668   518.088     6.4       -0.1      0.5        0.7       -0.1
  Personal care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               2.209     247.561   264.117   263.813     6.6       -0.1      0.5        0.7       -0.1

1
  Indexes on a December 1982=100 base.
2
  Indexes on a December 1997=100 base.
3
  Indexes on a December 1988=100 base.




                                                                                                  Ad Hoc Equity Group Exhibit 21
                                                                                                               16
                                   Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 17 of 37
Table 4. Consumer Price Index for All Urban Consumers (CPI-U): Selected areas, all items index, December
2022
    [1982-84=100, unless otherwise noted]
                                                                                                                                             Percent change to Dec. 2022 from:   Percent change to Nov. 2022 from:
                                                                                                                                  Pricing
                                                         Area                                                                                 Dec.         Oct.        Nov.       Nov.         Sep.        Oct.
                                                                                                                                 Schedule1
                                                                                                                                              2021         2022        2022       2021         2022        2022

U.S. city average. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . M                               6.5         -0.4         -0.3       7.1          0.3         -0.1
                                                                                      2
                                     Region and area size
     Northeast..................................................... .                                                            M             6.1          0.0         -0.1       6.4          0.4         0.1
       Northeast - Size Class A. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 M             6.3          0.2          0.0       6.4          0.5         0.2
       Northeast - Size Class B/C3. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      M             5.9         -0.2         -0.2       6.4          0.3         0.0
       New England4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     M             5.5         -0.1         -0.5       6.4          0.9         0.4
       Middle Atlantic4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   M             6.3          0.1          0.1       6.4          0.2         0.0
     Midwest. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        M             6.0         -0.6         -0.5       6.8          0.0         -0.2
       Midwest - Size Class A.................................. .                                                                M             5.8         -0.9         -0.4       6.6         -0.4         -0.5
       Midwest - Size Class B/C3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    M             6.1         -0.5         -0.5       6.9          0.2          0.0
       East North Central4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          M             6.2         -0.8         -0.6       7.1          0.1         -0.2
       West North Central4...................................... .                                                               M             5.7         -0.2         -0.2       6.1         -0.3         -0.1
     South. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    M             7.0         -0.2         -0.3       7.7          0.5          0.1
       South - Size Class A..................................... .                                                               M             7.3         -0.2         -0.3       8.2          0.5          0.1
       South - Size Class B/C3. . . . . . . . . . . . . . . . . . . . . . . . . . . ...... .                                     M             6.9         -0.2         -0.3       7.4          0.4          0.0
       South Atlantic4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  M             7.3          0.0         -0.3       8.1          0.8          0.3
       East South Central4. . . . . . . . . . . . . . . . . . .................... .                                             M             6.5         -0.1          0.0       6.3          0.2         -0.1
       West South Central4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            M             6.7         -0.8         -0.4       7.4         -0.2         -0.4
     West. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   M             6.2         -0.9         -0.4       7.1          0.3         -0.4
      West - Size Class A. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             M             6.2         -0.8         -0.3       7.0          0.2         -0.4
      West - Size Class B/C3.................................. .                                                                 M             6.3         -0.9         -0.5       7.2          0.3         -0.4
      Mountain4.................................................. .                                                              M             7.4         -0.6         -0.2       8.3          0.4         -0.4
      Pacific4..................................................... .                                                            M             5.8         -0.9         -0.5       6.7          0.2         -0.5
                                                Size classes
     Size Class A5................................................ . M                                                                         6.4         -0.4         -0.2       7.1          0.3         -0.1
     Size Class B/C3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . M                              6.5         -0.4         -0.4       7.1          0.3         -0.1
                                       Selected local areas
     Chicago-Naperville-Elgin, IL-IN-WI. . . . . . . . . . . . . . . . . . . . . . . . M                                                       5.5         -1.4         -0.8       6.8         -0.4         -0.6
     Los Angeles-Long Beach-Anaheim, CA. . . . . . . . . . . . . . . . . . M                                                                   4.9         -1.4         -0.6       6.0         -0.1         -0.8
     New York-Newark-Jersey City, NY-NJ-PA. . . . . . . . . . . . . . . M                                                                      6.3          0.4          0.2       5.9          0.3          0.2
     Atlanta-Sandy Springs-Roswell, GA. . . . . . . . . . . . . . . . . . . . . . .                                              2             8.1         -0.5
     Baltimore-Columbia-Towson, MD6. . . . . . . . . . . . . . . . . . . . . . . . .                                             2             6.3         -0.1
     Detroit-Warren-Dearborn, MI. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    2             6.2         -1.0
     Houston-The Woodlands-Sugar Land, TX. . . . . . . . . . . . . . . .                                                         2             5.3         -1.5
     Miami-Fort Lauderdale-West Palm Beach, FL. . . . . . . . . . .                                                              2             9.9          1.0
     Philadelphia-Camden-Wilmington, PA-NJ-DE-MD. . . . . . .                                                                    2             6.4         -0.4
     Phoenix-Mesa-Scottsdale, AZ7. . . . . . . . . . . . . . . . . . . . ........ .                                              2             9.5         -0.7
     San Francisco-Oakland-Hayward, CA.................... .                                                                     2             4.9         -0.3
     Seattle-Tacoma-Bellevue, WA. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2             8.4          0.1
     St. Louis, MO-IL............................................. .                                                             2             6.2          0.1
     Urban Alaska. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               2             5.4         -1.7
     Boston-Cambridge-Newton, MA-NH. . . . . . . . . . . . . . . . . . . . . . .                                                 1                                                 7.0          0.6
     Dallas-Fort Worth-Arlington, TX. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1                                                 8.4          0.3
     Denver-Aurora-Lakewood, CO. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         1                                                 6.9          0.5
     Minneapolis-St.Paul-Bloomington, MN-WI. . . . . . . . . . . . . . . .                                                       1                                                 5.3         -1.0
     Riverside-San Bernardino-Ontario, CA4.................. .                                                                   1                                                 7.5          0.6
     San Diego-Carlsbad, CA. . . . . . . . . . . ........................ .                                                      1                                                 6.7         -0.7
     Tampa-St. Petersburg-Clearwater, FL8. . . . . . . . . . . . . . . . . . .                                                   1                                                 9.6          1.0
     Urban Hawaii. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               1                                                 5.8         -0.6
     Washington-Arlington-Alexandria, DC-VA-MD-WV6. . . . .                                                                      1                                                 5.6          0.3

1
    Foods, fuels, and several other items are priced every month in all areas. Most other goods and services are priced as indicated: M - Every month.




                                                                                                        Ad Hoc Equity Group Exhibit 21
                                                                                                                     17
                Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 18 of 37
  1 - January, March, May, July, September, and November. 2 - February, April, June, August, October, and December.
2
  Regions defined as the four Census regions.
3
  Indexes on a December 1996=100 base.
4
  Indexes on a December 2017=100 base.
5
  Indexes on a December 1986=100 base.
6
  1998 - 2017 indexes based on substantially smaller sample.
7
  Indexes on a December 2001=100 base.
8
  Indexes on a 1987=100 base.
NOTE: Local area indexes are byproducts of the national CPI program. Each local index has a smaller sample size than the national index and is,
therefore, subject to substantially more sampling and other measurement error. As a result, local area indexes show greater volatility than the national
index, although their long-term trends are similar. Therefore, the Bureau of Labor Statistics strongly urges users to consider adopting the national
average CPI for use in their escalator clauses.




                                                Ad Hoc Equity Group Exhibit 21
                                                             18
                               Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 19 of 37
Table 5. Chained Consumer Price Index for All Urban Consumers (C-CPI-U) and the Consumer Price Index for
All Urban Consumers (CPI-U): U.S. city average, all items index, December 2022
    [Percent changes]
                                                                                    Unadjusted 1-month percent change   Unadjusted 12-month percent change
                            Month Year
                                                                                    C-CPI-U1                  CPI-U     C-CPI-U1                  CPI-U

December 2009............................ .                                                                                2.5                     2.7
December 2010............................ .                                                                                1.3                     1.5
December 2011............................ .                                                                                2.9                     3.0
December 2012............................ .                                                                                1.5                     1.7
December 2013............................ .                                                                                1.3                     1.5
December 2014............................ .                                                                                0.5                     0.8
December 2015............................ .                                                                                0.4                     0.7
December 2016............................ .                                                                                1.8                     2.1
December 2017............................ .                                                                                1.7                     2.1
December 2018............................ .                                                                                1.5                     1.9
December 2019............................ .                                                                                1.8                     2.3
January 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.4                      0.4        2.0                     2.5
February 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.3                      0.3        1.8                     2.3
March 2020................................. .                                         -0.2                     -0.2        1.1                     1.5
April 2020................................... .                                       -0.5                     -0.7        0.2                     0.3
May 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       -0.1                      0.0       -0.1                     0.1
June 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.6                      0.5        0.4                     0.6
July 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0.6                      0.5        0.9                     1.0
August 2020................................ .                                          0.4                      0.3        1.3                     1.3
September 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.1                      0.1        1.4                     1.4
October 2020. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.0                      0.0        1.2                     1.2
November 2020............................ .                                           -0.1                     -0.1        1.2                     1.2
December 2020............................ .                                            0.1                      0.1        1.5                     1.4
January 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.5                      0.4        1.6                     1.4
February 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.5                      0.5        1.8                     1.7
March 2021................................. .                                          0.6                      0.7        2.6                     2.6
April 2021................................... .                                        0.8                      0.8        4.0                     4.2
May 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        0.7                      0.8        4.9                     5.0
June 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.8                      0.9        5.1                     5.4
July 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0.5                      0.5        5.0                     5.4
August 2021................................ .                                          0.1                      0.2        4.8                     5.3
September 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.3                      0.3        5.0                     5.4
October 2021. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.7                      0.8        5.8                     6.2
November 2021............................ .                                            0.4                      0.5        6.4                     6.8
December 2021............................ .                                            0.2                      0.3        6.5                     7.0
January 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.8                      0.8        6.9                     7.5
February 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.9                      0.9        7.3                     7.9
March 2022................................. .                                          1.2                      1.3        7.9                     8.5
April 2022................................... .                                        0.6                      0.6        7.7                     8.3
May 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        1.0                      1.1        7.9                     8.6
June 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         1.2                      1.4        8.3                     9.1
July 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0.1                      0.0        7.8                     8.5
August 2022................................ .                                          0.1                      0.0        7.8                     8.3
September 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.3                      0.2        7.8                     8.2
October 2022. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.4                      0.4        7.5                     7.7
November 2022............................ .                                           -0.1                     -0.1        6.9                     7.1
December 2022............................ .                                           -0.2                     -0.3        6.4                     6.5

1
  The C-CPI-U is designed to be a closer approximation to a cost-of-living index in that it, in its final form, accounts for any substitution that
  consumers make across item categories in response to changes in relative prices. Since the expenditure data required for the calculation of the
  C-CPI-U are available only with a time lag, the C-CPI-U is issued first in preliminary form using the latest available expenditure data at that time and
  is subject to four revisions.
Indexes are issued as initial estimates. Indexes are revised each quarter with the publication of January, April, July, and October data as updated
expenditure estimates become available. The C-CPI-U indexes are updated quarterly until they become final. January-March indexes are final in
January of the following year; April-June indexes are final in April of the following year; July-September indexes are final in July of the following year;
October-December indexes are final in October of the following year.




                                                                                   Ad Hoc Equity Group Exhibit 21
                                                                                                19
                                  Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 20 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table
   [1982-84=100, unless otherwise noted]
                                                                                                                                                                                       One Month
                                                                                                                                               Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                                       Standard
                                                                                                                                             importance    adjusted      adjusted                     seasonally adjusted
                                             Expenditure category                                                                                                                        error,
                                                                                                                                                Nov.       percent     effect on All                    change since:3
                                                                                                                                                                                        median
                                                                                                                                                2022       change          Items
                                                                                                                                                                                         price                     Percent
                                                                                                                                                          Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                                       change2                     change
                                                                                                                                                          Dec. 2022    Dec. 20221

All items................................................................ .                                                                   100.000        -0.1                        0.04      S-May 2020        -0.1
   Food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13.781         0.3          0.037         0.09      S-Mar.2021         0.2
      Food at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     8.525         0.2          0.017         0.13      S-Mar.2021         0.2
        Cereals and bakery products................................ .                                                                           1.118         0.0          0.000         0.32      S-Aug.2021         0.0
           Cereals and cereal products.............................. .                                                                          0.358        -0.3         -0.001         0.38      S-Nov.2020        -0.3
                Flour and prepared flour mixes. . . . . . . . . . . . . . . . . . . . . . . . .                                                 0.059        -1.0         -0.001         0.89       S-Jul.2020       -1.3
                Breakfast cereal4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.149         1.1          0.002         0.68       L-Jul.2022        2.0
                Rice, pasta, cornmeal................................... .                                                                      0.149        -0.5         -0.001         0.53      S-Jun.2021        -0.5
                     Rice4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.5                        0.62      S-Jun.2022        -1.1
                Bakery products4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.760         0.1         0.001          0.39      S-Dec.2021         0.1
                     Bread4, 5................................................ .                                                                0.215         0.2         0.000          0.53      S-Dec.2021         0.0
                          White bread4, 6...................................... .                                                                             1.3                        0.74      S-Sep.2022         0.5
                          Bread other than white4, 6. . . . . . . . . . . . . . . . . . . . . . . . . .                                                      -0.7                        0.86      S-Jun.2021        -0.9
                     Fresh biscuits, rolls, muffins5. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.116         0.0         0.000          1.00      S-Sep.2022        -0.2
                     Cakes, cupcakes, and cookies4..................... .                                                                       0.187         0.3         0.001          0.67      S-Oct.2022         0.1
                          Cookies4, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1.0                        0.77      S-Oct.2022         0.3
                          Fresh cakes and cupcakes4, 6. . . . . . . . . . . . . . . . . . . . .                                                              -0.4                        1.06      S-Oct.2022        -0.8
                     Other bakery products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.242         0.0         0.000          0.67      S-Aug.2021        -0.1
                          Fresh sweetrolls, coffeecakes, doughnuts4, 6. . . .                                                                                 2.6                        1.29      L-Feb.2022         4.1
                          Crackers, bread, and cracker products6. . . . . . . . .                                                                            -1.3                        1.31      S-Dec.2020        -2.7
                          Frozen and refrigerated bakery products, pies,
                                tarts, turnovers4, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          -1.1                        0.86      S-Nov.2021        -1.1
        Meats, poultry, fish, and eggs............................... .                                                                         1.898         1.0          0.018         0.25      L-May 2022         1.1
           Meats, poultry, and fish. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1.751         0.1          0.002         0.27      L-Sep.2022         0.7
                Meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.101         0.6          0.006         0.38      L-Sep.2022         0.7
                     Beef and veal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.496         1.3          0.006         0.55       L-Oct.2021        2.5
                          Uncooked ground beef4. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          0.183        -0.1          0.000         0.65      L-Aug.2022         0.5
                          Uncooked beef roasts4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                         0.073         1.1          0.001         1.40      L-Aug.2022         1.3
                          Uncooked beef steaks5............................ .                                                                   0.192         0.9          0.002         0.93      L-Sep.2022         1.4
                          Uncooked other beef and veal4, 5. . . . . . . . . . . . . . . . .                                                     0.048         0.6          0.000         1.15        L-Jul.2022       1.8
                     Pork..................................................... .                                                                0.353        -0.2         -0.001         0.64      L-Sep.2022         1.8
                          Bacon, breakfast sausage, and related
                                products5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.157        -0.5         -0.001         0.77      L-Sep.2022         0.6
                                Bacon and related products6................... .                                                                             -2.9                        0.86      S-Aug.2019        -3.4
                                Breakfast sausage and related products5, 6. . .                                                                               2.1                        1.20        L-Jul.2022       2.6
                          Ham.................................................. .                                                               0.065        -1.1         -0.001         1.86      S-Apr.2022        -1.8
                                Ham, excluding canned6. . . . . . . . . . . . . . . . . . . . . . . .                                                        -1.3                        2.02       S-Jul.2022       -1.6
                          Pork chops4. . . . . . . . . . . . . . . . . . . ...................... .                                             0.051         0.2         0.000          1.63      S-Oct.2022         0.2
                          Other pork including roasts, steaks, and ribs5.. .                                                                    0.080         0.5         0.000          1.53      L-Sep.2022         4.1
                     Other meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.252         0.3         0.001          0.60      S-Aug.2022        -0.6
                          Frankfurters6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      3.9                        1.28      L-Aug.2022         4.9
                          Lunchmeats4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           -0.2                        0.59      S-Aug.2022        -0.3
                     Poultry4................................................. .                                                                0.363        -0.6         -0.002         0.51      L-Sep.2022         0.6
                          Chicken4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.294        -0.6         -0.002         0.62      L-Sep.2022         0.5
                                Fresh whole chicken4, 6. . . . . . . . . . . . . . . . . . . . . . . . . .                                                   -0.3                        0.93      S-Oct.2022        -0.8
                                Fresh and frozen chicken parts4, 6. . . . . . . . . . . . .                                                                  -0.8                        0.73      L-Sep.2022         0.6
                          Other uncooked poultry including turkey5. . . . . . . .                                                               0.069        -0.5          0.000         0.90      S-Dec.2021        -0.7
                     Fish and seafood. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.287        -0.7         -0.002         0.56      S-Apr.2021        -0.8
                          Fresh fish and seafood4, 5......................... .                                                                 0.144        -1.0         -0.001         0.84       L-Oct.2022        0.6
                          Processed fish and seafood5. . . . . . . . . . . . . . . . . . . . . .                                                0.143         0.0          0.000         0.71      S-Oct.2022        -0.9
                                Shelf stable fish and seafood6. . . . . . . . . . . . . . . . . .                                                             2.4                        0.91      L-Aug.2022         2.4
                                Frozen fish and seafood6....................... .                                                                            -1.0                        0.96      S-Oct.2022        -1.8



See footnotes at end of table.


                                                                                                       Ad Hoc Equity Group Exhibit 21
                                                                                                                    20
                          Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 21 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                          One Month
                                                                                                                                  Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                          Standard
                                                                                                                                importance    adjusted      adjusted                     seasonally adjusted
                                    Expenditure category                                                                                                                    error,
                                                                                                                                   Nov.       percent     effect on All                    change since:3
                                                                                                                                                                           median
                                                                                                                                   2022       change          Items
                                                                                                                                                                            price                     Percent
                                                                                                                                             Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                          change2                     change
                                                                                                                                             Dec. 2022    Dec. 20221
            Eggs4...................................................... .                                                         0.147         11.1          0.016         0.73       L-Apr.2020       15.0
       Dairy and related products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.811         -0.3         -0.003         0.32      S-Aug.2021        -0.8
         Milk5.......................................................... .                                                        0.205         -1.0         -0.002         0.43      S-Sep.2022        -1.3
            Fresh whole milk6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    -0.6                        0.56      S-Oct.2022        -0.9
            Fresh milk other than whole5, 6. . . . . . . . . . . . . . . . . . . . . . . . .                                                    -0.6                        0.65      S-Sep.2022        -1.5
         Cheese and related products4............................ .                                                               0.262          0.5          0.001         0.59      L-Sep.2022         0.7
         Ice cream and related products. . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.123         -1.1         -0.001         0.94      S-Nov.2021        -1.6
         Other dairy and related products4, 5. . . . . . . . . . . . . . . . . . . . . .                                          0.222         -0.1          0.000         0.57      S-Nov.2021        -0.2
       Fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1.431         -0.6         -0.009         0.33      S-Oct.2022        -0.9
         Fresh fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               1.086         -1.1         -0.012         0.40      S-Oct.2022        -1.5
            Fresh fruits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.574         -1.9         -0.011         0.62      S-Oct.2022        -2.4
              Apples. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.076          0.2          0.000         1.09      S-Oct.2022        -0.8
              Bananas4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.078         -0.4          0.000         0.71      S-Oct.2022        -1.1
              Citrus fruits5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.161         -0.3          0.000         1.06      S-Oct.2022        -2.5
                Oranges, including tangerines6................... .                                                                             -1.7                        1.43      S-Oct.2022        -3.6
              Other fresh fruits5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.260         -2.6         -0.007         1.07      S-Sep.2020        -2.7
            Fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.512         -0.1         -0.001         0.51      S-Oct.2022        -0.5
              Potatoes................................................ .                                                          0.078          1.6          0.001         0.77      L-Sep.2022         3.5
              Lettuce4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.069          4.0          0.003         0.92      S-Oct.2022         3.3
              Tomatoes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.082          3.4          0.003         1.09      L-Mar.2020         4.1
              Other fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.283         -1.3         -0.004         0.71      S-Jan.2021        -1.4
            Processed fruits and vegetables5. . . . . . . . . . . . . . . . . . . . . .                                           0.345          0.7          0.002         0.41       L-Oct.2022        1.1
              Canned fruits and vegetables5. . . . . . . . . . . . . . . . . . . . . . .                                          0.178          0.3          0.001         0.61       L-Oct.2022        1.8
                Canned fruits5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      -0.9                        0.69      S-Dec.2020        -1.3
                Canned vegetables5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 0.4                        0.72       L-Oct.2022        1.8
              Frozen fruits and vegetables5. . . . . . . . . . . . . . . . . . . . . . . .                                        0.103          1.1         0.001          0.88      S-Oct.2022         0.4
                Frozen vegetables6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              0.9                        1.04      S-Oct.2022         0.8
              Other processed fruits and vegetables including
                dried5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.064          1.7         0.001          0.94        L-Jul.2022        2.7
                Dried beans, peas, and lentils4, 5, 6. . . . . . . . . . . . . . .                                                               3.2                        0.90      L-Mar.2022          4.4
       Nonalcoholic beverages and beverage materials. . . . . . . . .                                                             0.981          0.1          0.001         0.40      S-Jan.2022          0.0
         Juices and nonalcoholic drinks5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.693          0.0          0.000         0.49      S-Jan.2022         -0.9
            Carbonated drinks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.290          1.1          0.003         0.85      L-Oct.2022          1.2
            Frozen noncarbonated juices and drinks4, 5. . . . . . . . . .                                                         0.007          1.0          0.000         0.66      S-Aug.2022         -3.1
            Nonfrozen noncarbonated juices and drinks5. . . . . . . . .                                                           0.395         -0.7         -0.003         0.59      S-Apr.2019         -0.7
         Beverage materials including coffee and tea5. . . . . . . . . . .                                                        0.288          0.2          0.001         0.61      S-Aug.2022         -0.8
            Coffee. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.186          0.0          0.000         0.79      S-Aug.2022         -1.0
              Roasted coffee6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.6                        0.90       L-Oct.2022         1.5
              Instant coffee4, 6....................................... .                                                                       -2.2                        1.86       S-Jul.2021        -2.5
            Other beverage materials including tea4, 5. . . . . . . . . . . .                                                     0.102          0.1         0.000          1.01      S-Oct.2022         -0.1
       Other food at home........................................... .                                                            2.285          0.4         0.010          0.25      L-Oct.2022          0.9
         Sugar and sweets4......................................... .                                                             0.290          0.4         0.001          0.68       L-Oct.2022         0.7
            Sugar and sugar substitutes. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.043          1.0         0.000          0.59      L-Aug.2022          2.4
            Candy and chewing gum4, 5............................ .                                                               0.185          1.0         0.002          0.97      L-Sep.2022          2.0
            Other sweets5............................................ .                                                           0.063         -0.3         0.000          0.82       L-Oct.2022         1.0
         Fats and oils. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.261          1.5         0.004          0.59      L-Oct.2022          2.1
            Butter and margarine5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.083          1.7         0.001          1.06       L-Oct.2022         1.9
              Butter6.................................................. .                                                                        3.3                        1.49      L-Jun.2022          4.8
              Margarine4, 6........................................... .                                                                         1.9                        1.54      L-Sep.2022          4.2
            Salad dressing5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.061         -1.1         -0.001         0.96      S-Aug.2020         -1.4
            Other fats and oils including peanut butter5. . . . . . . . . .                                                       0.117          3.4          0.004         0.95        L-Jul.2022        3.6
              Peanut butter4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1.8                        0.58        L-Jul.2022        3.5
            Other foods............................................... .                                                          1.734          0.3         0.005          0.29      L-Oct.2022          0.8


See footnotes at end of table.


                                                                                           Ad Hoc Equity Group Exhibit 21
                                                                                                        21
                             Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 22 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                          One Month
                                                                                                                                  Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                          Standard
                                                                                                                                importance    adjusted      adjusted                     seasonally adjusted
                                       Expenditure category                                                                                                                 error,
                                                                                                                                   Nov.       percent     effect on All                    change since:3
                                                                                                                                                                           median
                                                                                                                                   2022       change          Items
                                                                                                                                                                            price                     Percent
                                                                                                                                             Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                          change2                     change
                                                                                                                                             Dec. 2022    Dec. 20221
               Soups................................................... .                                                          0.101         0.9          0.001         1.00      L-Sep.2022          2.6
               Frozen and freeze dried prepared foods. . . . . . . . . . .                                                         0.280         1.1          0.003         0.55      L-Aug.2022          1.5
               Snacks4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            0.374        -0.2         -0.001         0.58       L-Oct.2022         1.3
               Spices, seasonings, condiments, sauces. . . . . . . . . . .                                                         0.330         1.0          0.003         0.48        L-Jul.2022        2.4
                  Salt and other seasonings and spices5, 6. . . . . . . .                                                                       -0.5                        0.73           –              –
                  Olives, pickles, relishes4, 5, 6. . . . . . . . . . . . . . . . . . . . . . .                                                  0.6                        0.86      S-Sep.2022         -0.6
                  Sauces and gravies5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                1.5                        1.02        L-Jul.2022        3.4
                  Other condiments6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           3.8                        0.71      L-Aug.2014          4.0
               Baby food4, 5........................................... .                                                          0.045        -0.2          0.000         0.61      S-Aug.2022         -2.0
               Other miscellaneous foods5. . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.605        -0.3         -0.002         0.60      S-Apr.2021         -0.6
                  Prepared salads7, 6................................. .                                                                        -0.9                        1.61       S-Oct.2022        -1.2
      Food away from home4......................................... .                                                              5.257         0.4         0.020          0.11      S-Mar.2022          0.3
        Full service meals and snacks4, 5........................... .                                                             2.438         0.1         0.003          0.14      S-Aug.2020          0.1
        Limited service meals and snacks4, 5. . . . . . . . . . . . . . . . . . . . . . .                                          2.532         0.5         0.014          0.15      S-Apr.2022          0.3
        Food at employee sites and schools4, 5. . . . . . . . . . . . . . . . . . . .                                              0.077         0.6         0.000          2.22      S-May 2022          0.4
          Food at elementary and secondary schools4, 8, 6. . . . . . .                                                                           0.2                        6.84      L-May 2022          0.3
        Food from vending machines and mobile vendors4, 5. . . .                                                                   0.038         1.4         0.001          0.46       L-Oct.2022         3.7
        Other food away from home4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.171         1.0         0.002          0.12       L-Jun.2022         1.8
  Energy............................................................... .                                                          7.868        -4.5         -0.354         0.14      S-Aug.2022         -5.0
    Energy commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    4.308        -9.4         -0.408         0.13      S-Aug.2022        -10.1
      Fuel oil and other fuels....................................... .                                                            0.257       -11.9         -0.030         0.65      S-Feb.1990        -16.1
        Fuel oil4...................................................... .                                                          0.183       -16.6         -0.030         0.67      S-Feb.1990        -19.0
        Propane, kerosene, and firewood9....................... .                                                                  0.073        -0.2          0.000         0.83       L-Oct.2022         0.0
      Motor fuel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4.052        -9.2         -0.378         0.13      S-Aug.2022        -10.5
        Gasoline (all types). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      3.951        -9.4         -0.376         0.13      S-Aug.2022        -10.6
            Gasoline, unleaded regular6. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  -9.6                        0.39      S-Aug.2022        -10.8
            Gasoline, unleaded midgrade10, 6. . . . . . . . . . . . . . . . . . . . . .                                                         -8.3                        0.36      S-Aug.2022        -10.0
            Gasoline, unleaded premium6. . . . . . . . . . . . . . . . . . . . . . . . . .                                                      -8.2                        0.36      S-Aug.2022         -8.8
        Other motor fuels4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.101        -8.5         -0.009         0.26      S-Jan.2016         -8.5
    Energy services.................................................. .                                                            3.560         1.5          0.054         0.21      L-Aug.2022          2.1
      Electricity....................................................... .                                                         2.610         1.0          0.026         0.21      L-Aug.2022          1.5
      Utility (piped) gas service. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.950         3.0          0.028         0.37      L-Aug.2022          3.5
  All items less food and energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          78.350          0.3          0.237         0.04       L-Oct.2022         0.3
     Commodities less food and energy commodities. . . . . . . . . . . .                                                         20.882         -0.3         -0.070         0.10      L-Sep.2022          0.0
        Household furnishings and supplies11. . . . . . . . . . . . . . . . . . . . . .                                           3.949          0.2          0.009         0.24      S-Oct.2022         -0.2
          Window and floor coverings and other linens4, 5. . . . . . . .                                                          0.292         -0.4         -0.001         1.08       L-Oct.2022         0.5
            Floor coverings4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.069          0.0          0.000         1.03      S-Oct.2022         -1.4
            Window coverings4, 5.................................... .                                                            0.056          1.7          0.001         1.42      L-Aug.2022          3.7
            Other linens4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.167         -1.2         -0.002         1.57       L-Oct.2022         1.9
          Furniture and bedding4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.952          0.0          0.000         0.47      L-Aug.2022          0.5
            Bedroom furniture4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.305          0.6          0.002         0.72        L-Jul.2022        1.2
            Living room, kitchen, and dining room furniture4, 5. . .                                                              0.471         -0.6         -0.003         0.79      S-Oct.2022         -1.9
            Other furniture5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.167          0.0          0.000         0.83      L-Sep.2022          4.2
          Appliances5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.240          0.2          0.001         0.62      S-Oct.2022         -0.5
            Major appliances5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.076          1.0          0.001         0.80      L-Mar.2022          2.8
              Laundry equipment4, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             4.1                        1.08      L-Aug.2022          6.9
            Other appliances4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.161        -0.7         -0.001         0.85      S-Oct.2022         -1.0
          Other household equipment and furnishings5. . . . . . . . . . .                                                          0.549        -0.3         -0.002         0.54      L-Sep.2022          1.2
            Clocks, lamps, and decorator items4. . . . . . . . . . . . . . . . . .                                                 0.331        -2.6         -0.008         0.66      S-May 2022         -3.7
            Indoor plants and flowers12. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.099         0.1          0.000         0.89       S-Jul.2022         0.0
            Dishes and flatware4, 5.................................. .                                                            0.049         0.7          0.000         1.90      L-Sep.2022          3.3
            Nonelectric cookware and tableware4, 5. . . . . . . . . . . . . . .                                                    0.070         1.6          0.001         1.17      L-Mar.2022          1.8


See footnotes at end of table.


                                                                                             Ad Hoc Equity Group Exhibit 21
                                                                                                          22
                         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 23 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                       One Month
                                                                                                                               Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                       Standard
                                                                                                                             importance    adjusted      adjusted                     seasonally adjusted
                                    Expenditure category                                                                                                                 error,
                                                                                                                                Nov.       percent     effect on All                    change since:3
                                                                                                                                                                        median
                                                                                                                                2022       change          Items
                                                                                                                                                                         price                     Percent
                                                                                                                                          Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                       change2                     change
                                                                                                                                          Dec. 2022    Dec. 20221
         Tools, hardware, outdoor equipment and supplies5. . . .                                                               0.955          1.4         0.013          0.34      L-Aug.2022         1.4
            Tools, hardware and supplies4, 5. . . . . . . . . . . . . . . . . . . . . . .                                      0.251          1.2         0.003          0.57      L-Oct.2022         1.4
            Outdoor equipment and supplies5. . . . . . . . . . . . . . . . . . . . . .                                         0.474          1.5         0.007          0.43      L-Jan.2022         2.1
         Housekeeping supplies4................................... .                                                           0.961          0.3         0.003          0.34      S-Nov.2021         0.2
            Household cleaning products4, 5. . . . . . . . . . . . . . . . . . . . . . . .                                     0.345         -0.1         0.000          0.54      S-Sep.2021        -0.4
            Household paper products4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.225          1.4         0.003          0.45      S-Oct.2022         0.4
            Miscellaneous household products4, 5. . . . . . . . . . . . . . . . .                                              0.390          0.0         0.000          0.57      S-Mar.2022        -0.3
       Apparel......................................................... .                                                      2.409          0.5         0.012          0.37      L-Jun.2022         0.8
         Men’s and boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.602          1.6         0.010          0.69      L-Nov.2021         1.7
            Men’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..... .                 0.465          1.3         0.006          0.83      L-Nov.2021         1.7
               Men’s suits, sport coats, and outerwear. . . . . . . . . . . .                                                  0.076          1.9         0.001          2.00      S-Oct.2022        -2.0
               Men’s underwear, nightwear, swimwear, and
                 accessories4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.156         -1.4         -0.002         1.01       S-Jul.2022       -2.4
               Men’s shirts and sweaters5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                 0.114          2.1          0.002         1.26      L-Jan.2022         2.4
               Men’s pants and shorts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.114          1.1          0.001         1.42       L-Oct.2022        1.5
            Boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.137          2.4          0.003         1.14      L-Nov.2021         2.5
         Women’s and girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.956         -0.3         -0.003         0.62      S-Apr.2022        -0.9
            Women’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.803         -0.3         -0.002         0.69      S-Sep.2022        -0.4
               Women’s outerwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.056          2.8          0.002         1.73      L-Jan.2022         6.5
               Women’s dresses..................................... .                                                          0.087         -2.4         -0.002         1.69      S-Oct.2022        -2.4
               Women’s suits and separates5...................... .                                                            0.386          1.2          0.004         1.10      L-Aug.2022         1.2
               Women’s underwear, nightwear, swimwear, and
                 accessories5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.266         -0.7         -0.002         0.96      S-Jun.2022        -1.5
            Girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.153         -0.6         -0.001         1.39      L-Sep.2022         1.8
         Footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.586         -0.2         -0.001         0.51      S-Oct.2022        -1.1
            Men’s footwear4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.199         -2.4         -0.005         0.74      S-Dec.2017        -3.6
            Boys’ and girls’ footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.113          0.8          0.001         1.15      L-Jun.2022         1.2
            Women’s footwear....................................... .                                                          0.274         -0.6         -0.002         0.73      S-Oct.2022        -1.6
         Infants’ and toddlers’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.112          0.8          0.001         1.54      S-Oct.2022        -3.2
         Jewelry and watches9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.153          3.3          0.005         1.23      L-Sep.2022         3.4
            Watches4, 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.029         -0.1          0.000         1.52      S-Oct.2022        -0.1
            Jewelry9................................................... .                                                      0.124          3.7          0.005         1.50      L-Sep.2022         4.4
       Transportation commodities less motor fuel11. . . . . . . . . . . . .                                                   8.212         -1.2         -0.097         0.13       L-Oct.2022       -0.9
         New vehicles................................................ .                                                        4.068         -0.1         -0.002         0.24      S-Jan.2021        -0.4
            New cars6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       -0.1                        0.36       L-Oct.2022        0.3
            New trucks13, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.0                        0.34      S-Jan.2021        -0.3
         Used cars and trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     3.624         -2.5         -0.094         0.02      L-Oct.2022        -2.4
         Motor vehicle parts and equipment4. . . . . . . . . . . . . . . . . . . . . .                                         0.435          0.1          0.000         0.42      S-Mar.2022        -0.2
            Tires4...................................................... .                                                     0.272          0.5          0.001         0.54      L-Aug.2022         1.2
            Vehicle accessories other than tires4, 5. . . . . . . . . . . . . . . .                                            0.164         -0.6         -0.001         0.55      S-Oct.2020        -1.4
               Vehicle parts and equipment other than tires4, 6. . .                                                                         -1.2                        0.66      S-Oct.2020        -2.0
               Motor oil, coolant, and fluids4, 6. . . . . . . . . . . . . . . . . . . . . .                                                  0.3                        0.76       L-Oct.2022        4.4
       Medical care commodities4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1.472          0.1          0.002         0.20      S-Oct.2022         0.0
         Medicinal drugs4, 11. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 1.369          0.0         -0.001         0.21      S-Oct.2022         0.0
            Prescription drugs4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.995          0.1          0.001         0.17      L-Aug.2022         0.4
            Nonprescription drugs4, 11. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.375         -0.4         -0.002         0.51      S-Sep.2022        -0.4
         Medical equipment and supplies4, 11. . . . . . . . . . . . . . . . . . . . .                                          0.103          2.3          0.002         0.49      L-Jan.2021         3.5
       Recreation commodities11. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1.874          0.1          0.002         0.24      L-Oct.2022         0.7
         Video and audio products11............................... .                                                           0.271          0.0          0.000         0.43      L-Oct.2022         0.9
            Televisions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.118          1.4          0.002         0.58      L-Aug.2021         2.4
            Other video equipment5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.023          0.0          0.000         1.14      L-Sep.2022         0.1
            Audio equipment4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.072         -2.4         -0.002         1.11      S-Jan.2021        -3.3
            Recorded music and music subscriptions4, 5. . . . . . . . .                                                        0.051          0.1          0.000         0.38      S-Sep.2022        -0.2


See footnotes at end of table.


                                                                                         Ad Hoc Equity Group Exhibit 21
                                                                                                      23
                            Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 24 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                            One Month
                                                                                                                                    Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                            Standard
                                                                                                                                  importance    adjusted      adjusted                     seasonally adjusted
                                       Expenditure category                                                                                                                   error,
                                                                                                                                     Nov.       percent     effect on All                    change since:3
                                                                                                                                                                             median
                                                                                                                                     2022       change          Items
                                                                                                                                                                              price                     Percent
                                                                                                                                               Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                            change2                     change
                                                                                                                                               Dec. 2022    Dec. 20221
         Pets and pet products4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.575         0.1         0.001          0.36      S-Nov.2021         0.1
            Pet food4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.4                        0.36      S-Jan.2022         0.3
            Purchase of pets, pet supplies, accessories4, 5, 6. . . .                                                                              0.1                        0.75       L-Oct.2022        1.4
         Sporting goods4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.549        -0.5         -0.003         0.50      S-Sep.2022        -1.1
            Sports vehicles including bicycles4. . .................. .                                                              0.315        -0.6         -0.002         0.74      S-Sep.2022        -2.6
            Sports equipment4....................................... .                                                               0.223        -0.2         -0.001         0.48       L-Oct.2022        0.3
         Photographic equipment and supplies. . . . . . . . . . . . . . . . . . .                                                    0.020         3.5          0.001         0.79        L-Jul.2022       4.1
            Photographic equipment5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    3.2                        0.75        L-Jul.2022       4.1
         Recreational reading materials4. . . . . . . . . . . . . . . . . . . . . . . . . . .                                        0.095        -0.1         0.000          0.63      L-Aug.2022         2.1
            Newspapers and magazines4, 5. . . . . . . . . . . . . . . . . . . . . . . .                                              0.056         0.0         0.000          0.82      L-Aug.2022         2.7
            Recreational books4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.039        -0.1         0.000          0.85      S-Oct.2022        -2.2
         Other recreational goods5................................. .                                                                0.364         0.9         0.003          0.56        L-Jul.2022       1.2
            Toys. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.281         1.0         0.003          0.67        L-Jul.2022       1.5
              Toys, games, hobbies and playground
                 equipment5, 6........................................ .                                                                          -0.1                        0.90       L-Oct.2022       -0.1
            Sewing machines, fabric and supplies4, 5. . . . . . . . . . . . .                                                        0.026         3.6          0.001         1.60       L-Apr.2022        4.6
            Music instruments and accessories4, 5. . . . . . . . . . . . . . . .                                                     0.042        -1.1          0.000         0.93      S-Dec.2020        -2.4
       Education and communication commodities11. . . . . . . . . . . . .                                                            0.725        -0.8         -0.006         0.55      L-Sep.2022        -0.6
         Educational books and supplies4. . . . . . . . . . . . . . . . . . . . . . . . .                                            0.086         0.2          0.000         0.85       L-Oct.2022        0.2
            College textbooks4, 14, 6. . ............................... .                                                                         0.2                        0.73      L-May 2022         2.5
         Information technology commodities11. . . . . . . . . . . . . . . . . . .                                                   0.639        -0.9         -0.006         0.70      L-Sep.2022        -0.6
            Computers, peripherals, and smart home
              assistants4, 7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.326        -2.4         -0.008         0.83      L-Oct.2022        -0.3
            Computer software and accessories4, 5. . . . . . . . . . . . . . .                                                       0.019        -0.9          0.000         1.40      L-Sep.2022         1.2
            Telephone hardware, calculators, and other
              consumer information items5. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.295         0.7         0.002          0.85      L-Dec.2021         0.8
              Smartphones4, 6, 15.................................... .                                                                            0.7                        1.16      L-Jan.2022         1.1
       Alcoholic beverages. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.877         0.5         0.004          0.20      S-Sep.2022         0.0
         Alcoholic beverages at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.583         0.6         0.004          0.25      S-Oct.2022         0.5
            Beer, ale, and other malt beverages at home. . . . . . . .                                                               0.225         1.3         0.003          0.38          –              –
            Distilled spirits at home4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.105        -0.1         0.000          0.34      S-Sep.2022        -0.8
              Whiskey at home4, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             0.1                        0.42      S-Oct.2022         0.1
              Distilled spirits, excluding whiskey, at home4, 6. . . .                                                                            -0.3                        0.52      S-Sep.2022        -0.3
            Wine at home4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.253        -0.2         -0.001         0.39          –              –
         Alcoholic beverages away from home4. . . . . . . . . . . . . . . . . .                                                      0.294         0.8          0.002         0.24       L-Oct.2022        1.2
            Beer, ale, and other malt beverages away from
              home4, 5, 6. . . . . . . . . . . . . . . ............................... .                                                           0.4                        0.29       L-Oct.2022        0.7
            Wine away from home4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    1.0                        0.29       L-Oct.2022        1.2
            Distilled spirits away from home4, 5, 6. . . . . . . . . . . . . . . . . .                                                             1.4                        0.31       L-Jun.2021        1.6
       Other goods11. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              1.364        -0.1         -0.001         0.21      S-May 2021        -0.1
         Tobacco and smoking products4. . . . . . . . . . . . . . . . . . . . . . . . . .                                            0.520        -0.1         -0.001         0.20      S-Jan.2022        -0.1
            Cigarettes4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0.450        -0.1          0.000         0.22      S-Jan.2022        -0.3
            Tobacco products other than cigarettes4, 5. . . . . . . . . . . .                                                        0.065        -0.2          0.000         0.33      S-Oct.2022        -1.1
         Personal care products4................................... .                                                                0.653        -0.1         -0.001         0.26      S-Dec.2021        -0.2
            Hair, dental, shaving, and miscellaneous personal
              care products4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.338        0.5          0.002          0.33           –             –
            Cosmetics, perfume, bath, nail preparations and
              implements4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.305        -0.8         -0.002         0.37       S-Jul.2021       -1.0
         Miscellaneous personal goods4, 5. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.190         0.1          0.000         0.88      S-Aug.2022         0.0
            Stationery, stationery supplies, gift wrap6. . . . . . . . . . . . .                                                                   2.9                        0.71          –              –
     Services less energy services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              57.469          0.5         0.314          0.05      L-Oct.2022         0.5
       Shelter.......................................................... .                                                         32.929          0.8         0.262          0.06      L-Oct.2022         0.8
         Rent of shelter16............................................ .                                                           32.569          0.8         0.249          0.06      L-Sep.2022         0.8
            Rent of primary residence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  7.447          0.8         0.059          0.05          –              –


See footnotes at end of table.


                                                                                              Ad Hoc Equity Group Exhibit 21
                                                                                                           24
                       Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 25 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                    One Month
                                                                                                                            Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                    Standard
                                                                                                                          importance    adjusted      adjusted                     seasonally adjusted
                                 Expenditure category                                                                                                                 error,
                                                                                                                             Nov.       percent     effect on All                    change since:3
                                                                                                                                                                     median
                                                                                                                             2022       change          Items
                                                                                                                                                                      price                     Percent
                                                                                                                                       Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                    change2                     change
                                                                                                                                       Dec. 2022    Dec. 20221
           Lodging away from home5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.887        1.5          0.014          1.65       L-Oct.2022        4.9
             Housing at school, excluding board16. . . . . . . . . . . . . . .                                               0.124        0.2          0.000          0.05          –              –
             Other lodging away from home including hotels
                and motels. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.762         1.7          0.014          1.90      L-Oct.2022         5.6
           Owners’ equivalent rent of residences16. . . . . . . . . . . . . .                                              24.235         0.8          0.189          0.05      L-Sep.2022         0.8
             Owners’ equivalent rent of primary residence16. . .                                                           22.978         0.8          0.180          0.05      L-Sep.2022         0.8
           Tenants’ and household insurance4, 5. . . . . . . . . . . . . . . . .                                            0.360         0.1          0.000          0.12          –              –
         Water and sewer and trash collection services5. . . . . . . .                                                      1.089         0.3          0.003          0.10          –              –
           Water and sewerage maintenance. . . . . . . . . . . . . . . . . . . . .                                          0.782         0.3          0.002          0.10      L-Sep.2022         0.3
           Garbage and trash collection4, 13. . . . . . . . . . . . . . . . . . . . . . .                                   0.308         0.2          0.001          0.26      S-Aug.2022         0.1
         Household operations4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Domestic services4, 5.................................... .                                                       0.235        1.7          0.004          0.38      L-Dec.2021         2.4
           Gardening and lawncare services4, 5. . . . . . . . . . . . . . . . . .
           Moving, storage, freight expense4, 5. . . . . . . . . . . . . . . . . . .                                         0.100        -1.3         -0.001         1.45      S-Sep.2022        -2.2
           Repair of household items4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . .
         Medical care services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    6.788         0.1          0.006         0.13      L-Sep.2022         1.0
           Professional services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      3.455         0.1          0.002         0.20           –             –
             Physicians’ services4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1.807         0.1          0.002         0.27      L-Sep.2022         0.5
             Dental services........................................ .                                                       0.920         0.2          0.002         0.19      S-Oct.2022         0.2
             Eyeglasses and eye care4, 9......................... .                                                          0.352         0.4          0.001         0.37      L-Sep.2022         3.2
             Services by other medical professionals4, 9. . . . . . . .                                                      0.376        -0.9         -0.003         0.10       S-Jul.1995       -0.9
           Hospital and related services. . . . . . . . . . . . . . . . . . . . . . . . . . .                                2.491         1.5          0.037         0.12       L-Oct.2015        1.8
             Hospital services17.................................... .                                                       2.123         1.7          0.035         0.13       L-Oct.2015        2.0
                Inpatient hospital services17, 6. . . . . . . . . . . . . . . . . . . . .                                                  1.5                        0.36       L-Oct.2015        2.2
                Outpatient hospital services9, 6. . . . . . . . . . . . . . . . . . . .                                                    1.7                        0.34       L-Oct.2015        1.7
             Nursing homes and adult day services17. . . . . . . . . . .                                                     0.205         0.5          0.001         0.16       L-Jun.2022        1.4
             Care of invalids and elderly at home4, 8. . . . . . . . . . . .                                                 0.163         0.2          0.000         0.24       L-Oct.2022        0.5
           Health insurance4, 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.842        -3.4         -0.029         0.15      L-Sep.2022         2.1
         Transportation services.................................... .                                                       6.018         0.2          0.011         0.19       L-Oct.2022        0.8
           Leased cars and trucks4, 14. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.849         1.5          0.013         0.35       L-Jun.2018        1.6
           Car and truck rental5. . . . . . . . . . . . . . . . . . . . . . . . . . . ......... .                            0.141        -1.6         -0.002         1.79       L-Oct.2022       -0.5
           Motor vehicle maintenance and repair4. . . . . . . . . . . . . . .                                                1.087         1.0          0.011         0.21      S-Oct.2022         0.7
             Motor vehicle body work4. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.053         0.2          0.000         0.26      S-Aug.2022        -1.2
             Motor vehicle maintenance and servicing4. . . . . . . . .                                                       0.589         0.4          0.002         0.25      S-May 2022         0.3
             Motor vehicle repair4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.400         2.1          0.009         0.31      L-Sep.2022         2.2
           Motor vehicle insurance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          2.532         0.6          0.014         0.19      S-May 2022         0.5
           Motor vehicle fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.496         0.1          0.001         0.23      L-Sep.2022         0.5
             State motor vehicle registration and license
                fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.287         0.2         0.000          0.02      L-Aug.2022         0.8
             Parking and other fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.194         0.1         0.000          0.45      L-Sep.2022         1.4
                Parking fees and tolls5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . .                                            0.9                        0.53      L-Aug.2022         1.1
           Public transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.914        -2.8         -0.025         0.65      S-Aug.2022        -3.2
             Airline fares. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ... .            0.630        -3.1         -0.019         0.97      S-Aug.2022        -4.6
             Other intercity transportation. . . . . . . . . . . . . . . . . . . . . . . . .                                 0.091         0.3          0.000         0.62      L-Oct.2022         1.6
                Ship fare4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            1.4                        0.82      L-Sep.2022         1.5
             Intracity transportation4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.191         1.8         0.003          0.92       L-Apr.2021        1.8
                Intracity mass transit4, 11, 6. . . . . . . . . . . . . . . . . . . . . . . . .                                           -0.1                        0.26       S-Jul.2022       -0.2
         Recreation services11...................................... .                                                       3.147         0.3          0.010         0.21      S-Sep.2022         0.2
           Video and audio services11. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               1.141        -0.3         -0.003         0.17      S-Sep.2022        -0.4
             Cable and satellite television service13. . . . . . . . . . . . .                                               1.047        -0.3         -0.004         0.13      S-Sep.2022        -0.4
             Video discs and other media, including rental of
                video4, 5.............................................. .                                                    0.094         0.3         0.000          1.04      L-Aug.2022         1.2
                Video discs and other media4, 5, 6. . . . . . . . . . . . . . . . .                                                       -0.9                        1.84      L-Oct.2022         0.0


See footnotes at end of table.


                                                                                      Ad Hoc Equity Group Exhibit 21
                                                                                                   25
                            Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 26 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                         One Month
                                                                                                                                 Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                         Standard
                                                                                                                               importance    adjusted      adjusted                     seasonally adjusted
                                      Expenditure category                                                                                                                 error,
                                                                                                                                  Nov.       percent     effect on All                    change since:3
                                                                                                                                                                          median
                                                                                                                                  2022       change          Items
                                                                                                                                                                           price                     Percent
                                                                                                                                            Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                         change2                     change
                                                                                                                                            Dec. 2022    Dec. 20221
                     Rental of video discs and other media4, 5, 6. . . . .                                                                      2.2                        0.22       L-Jun.2019        2.2
                Pet services including veterinary5. . . . . . . . . . . . . . . . . . . . . .                                     0.524        -0.4         -0.002         0.32      S-May 2022        -0.6
                   Pet services4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.6                        0.39      S-Sep.2022         0.6
                   Veterinarian services5, 6.............................. .                                                                   -0.4                        0.60      S-May 2022        -1.1
                Photographers and photo processing4, 5. . . . . . . . . . . . . .                                                 0.030        -0.2         0.000          0.45       S-Jul.2022       -0.7
                Other recreation services5.............................. .                                                        1.452         1.1         0.016          0.41           –             –
                   Club membership for shopping clubs, fraternal, or
                     other organizations, or participant sports
                     fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.634        0.7          0.005          0.28      L-Oct.2022         1.2
                   Admissions4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.458        1.1          0.005          0.87      S-Oct.2022         0.8
                     Admission to movies, theaters, and
                        concerts4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             -0.3                        0.61      S-Sep.2022        -0.6
                     Admission to sporting events4, 5, 6. . . . . . . . . . . . . . . .                                                         4.5                        4.15      S-Oct.2022        -1.6
                   Fees for lessons or instructions4, 9. . . . . . . . . . . . . . . . . .                                        0.171         2.6         0.005          0.43      L-Sep.2022         2.8
              Education and communication services11............... .                                                             5.316         0.3         0.014          0.06      S-Oct.2022         0.1
                Tuition, other school fees, and childcare. . . . . . . . . . . . . .                                              2.502         0.3         0.008          0.08          –              –
                   College tuition and fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          1.428         0.3         0.004          0.09      L-Aug.2022         0.5
                   Elementary and high school tuition and fees. . . . . .                                                         0.315         0.3         0.001          0.05          –              –
                   Day care and preschool12. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.631         0.3         0.002          0.09      S-Oct.2022         0.2
                   Technical and business school tuition and
                     fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.038        0.3          0.000          0.11      L-Aug.2022         0.9
                Postage and delivery services5. . . . . . . . . . . . . . . . . . . . . . . . .                                   0.084        0.2          0.000          0.06          –              –
                   Postage. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0.075        0.2          0.000          0.01          –              –
                   Delivery services5..................................... .                                                      0.009        0.1          0.000          0.30      S-Oct.2022        -1.5
                Telephone services4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       1.807        0.3          0.005          0.07      S-Oct.2022        -0.1
                   Wireless telephone services4, 5. . . . . . . . . . . . . . . . . . . . . .                                     1.501        0.2          0.003          0.04      S-Oct.2022        -0.3
                   Residential telephone services4, 11. . . . . . . . . . . . . . . . . .                                         0.306        0.7          0.002          0.27          –              –
                Internet services and electronic information
                   providers4, 5............................................ .                                                    0.915         0.1          0.001         0.20      S-Sep.2022        -0.1
              Other personal services4, 11............................... .                                                       1.366        -0.2         -0.002         0.19      S-Jan.2021        -0.3
                Personal care services4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.542         0.3          0.001         0.28      S-Oct.2022         0.2
                   Haircuts and other personal care services4, 5. . . . . .                                                       0.542         0.3          0.001         0.28      S-Oct.2022         0.2
                Miscellaneous personal services4. . . . . . . . . . . . . . . . . . . . . .                                       0.823        -0.4         -0.004         0.18      S-Jan.2021        -1.0
                   Legal services4, 9...................................... .                                                     0.230         0.2          0.001         0.09      L-May 2022         1.0
                   Funeral expenses4, 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.146         0.7          0.001         0.13       L-Oct.2022        1.7
                   Laundry and dry cleaning services4, 5. . . . . . . . . . . . . . .                                             0.154         0.4          0.001         0.39      S-Sep.2022        -0.6
                   Apparel services other than laundry and dry
                     cleaning4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            0.018         1.6          0.000         0.45      L-Sep.2022         5.0
                   Financial services4, 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.192        -2.9         -0.006         0.50      S-Jan.2021        -4.7
                     Checking account and other bank
                        services4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.2                         0.30      S-Oct.2022        -0.5
                     Tax return preparation and other accounting
                        fees4, 5, 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       -3.5                        0.51      S-Mar.2019        -6.9
                               Special aggregate indexes
  All items less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        86.219         -0.1         -0.117         0.04      S-Jul.2022        -0.2
  All items less shelter............................................... .                                                       67.071         -0.5         -0.342         0.05      S-Apr.2020        -1.2
  All items less food and shelter. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        53.290         -0.7         -0.379         0.05      S-Apr.2020        -1.9
  All items less food, shelter, and energy. . . . . . . . . . . . . . . . . . . . . . . . . .                                   45.421         -0.1         -0.025         0.06          –              –
  All items less food, shelter, energy, and used cars and
     trucks.............................................................. .                                                     41.797          0.2          0.068         0.06      L-Sep.2022         0.6
  All items less medical care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    91.740         -0.1         -0.088         0.04       S-Jul.2022       -0.1
  All items less energy............................................... .                                                        92.132          0.3          0.274         0.04      L-Oct.2022         0.3
  Commodities........................................................ .                                                         38.971         -1.1         -0.441         0.07      S-Apr.2020        -1.6



See footnotes at end of table.


                                                                                           Ad Hoc Equity Group Exhibit 21
                                                                                                        26
                                 Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 27 of 37
Table 6. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 1-month analysis table — Continued
    [1982-84=100, unless otherwise noted]
                                                                                                                                                                                    One Month
                                                                                                                                            Relative   Seasonally   Seasonally                  Largest (L) or Smallest (S)
                                                                                                                                                                                    Standard
                                                                                                                                          importance    adjusted      adjusted                     seasonally adjusted
                                            Expenditure category                                                                                                                      error,
                                                                                                                                             Nov.       percent     effect on All                    change since:3
                                                                                                                                                                                     median
                                                                                                                                             2022       change          Items
                                                                                                                                                                                      price                     Percent
                                                                                                                                                       Nov. 2022-   Nov. 2022-                     Date
                                                                                                                                                                                    change2                     change
                                                                                                                                                       Dec. 2022    Dec. 20221
      Commodities less food, energy, and used cars and
          trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ........................... .                              17.257          0.1          0.023         0.12       L-Oct.2022        0.1
      Commodities less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             25.190         -1.9         -0.478         0.09      S-Apr.2020        -3.3
      Commodities less food and beverages. . . . . . . . . . . . . . . . . . . . . . . .                                                   24.313         -2.0         -0.483         0.09      S-Apr.2020        -3.5
    Services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    61.029          0.6          0.368         0.05      L-Sep.2022         0.8
      Services less rent of shelter16. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   28.460          0.4          0.117         0.06      L-Sep.2022         0.9
      Services less medical care services. . . . . . . . . . . . . . . . . . . . . . . . . . .                                             54.240          0.7          0.356         0.05      L-Sep.2022         0.8
    Durables............................................................. .                                                                12.310         -0.8         -0.103         0.14       L-Oct.2022       -0.7
    Nondurables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           26.661         -1.2         -0.329         0.07      S-Aug.2022        -1.4
      Nondurables less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           12.880         -2.9         -0.368         0.12      S-Aug.2022        -3.6
      Nondurables less food and beverages. . . . . . . . . . . . . . . . . . . . . . . .                                                   12.003         -3.1         -0.371         0.13      S-Aug.2022        -3.8
      Nondurables less food, beverages, and apparel. . . . . . . . . . . . .                                                                9.594         -4.3         -0.411         0.11      S-Aug.2022        -4.8
      Nondurables less food and apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             10.471         -4.1         -0.428         0.10      S-Aug.2022        -4.3
    Housing.............................................................. .                                                                42.599          0.7          0.304         0.06      L-Sep.2022         0.7
    Education and communication5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       6.041          0.1          0.009         0.07      S-Oct.2022         0.0
      Education5........................................................ .                                                                  2.588          0.3          0.008         0.08           –             –
      Communication5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     3.454          0.0          0.000         0.10      S-Oct.2022        -0.1
          Information and information processing5. . . . . . . . . . . . . . . . . . .                                                      3.369          0.0          0.000         0.11      S-Oct.2022        -0.2
          Information technology, hardware and services18. . . . . . . . .                                                                  1.562         -0.3         -0.005         0.25      S-Sep.2022        -0.3
    Recreation5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          5.021          0.2          0.013         0.17      S-Sep.2022         0.1
      Video and audio5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1.411         -0.2         -0.003         0.17      S-Sep.2022        -0.2
      Pets, pet products and services5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         1.099         -0.1         -0.001         0.29      S-Oct.2020        -0.2
      Photography5..................................................... .                                                                   0.051          1.3          0.001         0.42        L-Jul.2022       1.3
    Food and beverages............................................... .                                                                    14.659          0.3          0.042         0.08      S-Apr.2021         0.3
      Domestically produced farm food4. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             7.179          0.3          0.022         0.14       L-Oct.2022        0.6
    Other services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             9.829          0.2          0.023         0.08      S-Sep.2022         0.2
    Apparel less footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1.823          0.7          0.013         0.46      L-Mar.2022         0.7
    Fuels and utilities................................................... .                                                                4.906          0.5          0.027         0.16      L-Sep.2022         0.8
      Household energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       3.817          0.6          0.024         0.20      L-Sep.2022         0.9
    Medical care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           8.260          0.1          0.008         0.12      L-Sep.2022         0.8
    Transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            18.282         -2.5         -0.463         0.10      S-Apr.2020        -6.0
      Private transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        17.368         -2.5         -0.438         0.09      S-Apr.2020        -5.7
          New and used motor vehicles5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           8.767         -1.0         -0.086         0.13       L-Oct.2022       -0.9
    Utilities and public transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    8.418          0.5          0.043         0.12      L-Sep.2022         0.6
    Household furnishings and operations. . . . . . . . . . . . . . . . . . . . . . . . . . .                                               4.764          0.3          0.015         0.20      L-Sep.2022         0.5
    Other goods and services......................................... .                                                                     2.729         -0.1         -0.003         0.14      S-May 2021        -0.1
      Personal care4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2.209         -0.1         -0.003         0.16      S-Sep.2021        -0.1

1
  The ’effect’ of an item category is a measure of that item’s contribution to the All items price change. For example, if the Food index had an effect of
  0.40, and the All items index rose 1.2 percent, then the increase in food prices contributed 0.40 / 1.2, or 33.3 percent, to that All items increase.
  Said another way, had food prices been unchanged for that month the change in the All items index would have been 1.2 percent minus 0.40, or 0.8
  percent. Effects can be negative as well. For example, if the effect of food was a negative 0.1, and the All items index rose 0.5 percent, the All items
  index actually would have been 0.1 percent higher (or 0.6 percent) had food prices been unchanged. Since food prices fell while prices overall were
  rising, the contribution of food to the All items price change was negative (in this case, -0.1 / 0.5, or minus 20 percent).
2
  A statistic’s margin of error is often expressed as its point estimate plus or minus two standard errors. For example, if a CPI category rose 0.6
  percent, and its standard error was 0.15 percent, the margin of error on this item’s 1-month percent change would be 0.6 percent, plus or minus 0.3
  percent.
3
  If the current seasonally adjusted 1-month percent change is greater than the previous published 1-month percent change, then this column
  identifies the closest prior month with a 1-month percent change as (L)arge as or (L)arger than the current 1-month change. If the current 1-month
  percent change is smaller than the previous published 1-month percent change, the most recent month with a change as (S)mall or (S)maller than
  the current month change is identified. If the current and previous published 1-month percent changes are equal, a dash will appear. Standard
  numerical comparisons are used. For example, 0.8% is greater than 0.6%, -0.4% is less than -0.2%, and -0.2% is less than 0.0%. Note that a
  (L)arger change can be a smaller decline, for example, a -0.2% change is larger than a -0.4% change, but still represents a decline in the price
  index. Likewise, (S)maller changes can be increases, for example, a 0.6% change is smaller than 0.8%, but still represents an increase in the price
  index. In this context, a -0.2% change is considered to be smaller than a 0.0% change.
4
  Not seasonally adjusted.
5
  Indexes on a December 1997=100 base.
6
  Special indexes based on a substantially smaller sample. These series do not contribute to the all items index aggregation and therefore do not
  have a relative importance or effect.




                                                                                                    Ad Hoc Equity Group Exhibit 21
                                                                                                                 27
              Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 28 of 37
7
  Indexes on a December 2007=100 base.
8
  Indexes on a December 2005=100 base.
9
  Indexes on a December 1986=100 base.
10
   Indexes on a December 1993=100 base.
11
   Indexes on a December 2009=100 base.
12
   Indexes on a December 1990=100 base.
13
   Indexes on a December 1983=100 base.
14
   Indexes on a December 2001=100 base.
15
   Indexes on a December 2019=100 base.
16
   Indexes on a December 1982=100 base.
17
   Indexes on a December 1996=100 base.
18
   Indexes on a December 1988=100 base.




                                          Ad Hoc Equity Group Exhibit 21
                                                       28
                                  Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 29 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table
   [1982-84=100, unless otherwise noted]
                                                                                                                                                                                       Twelve Month
                                                                                                                                               Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                                             importance    percent     effect on All       error,      unadjusted change since:3
                                             Expenditure category
                                                                                                                                                Nov.       change          Items          median
                                                                                                                                                2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                                          Date
                                                                                                                                                          Dec. 2022    Dec. 20221        change2                       change

All items................................................................ .                                                                   100.000         6.5                          0.09         S-Oct.2021        6.2
   Food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13.781        10.4         1.392            0.19        S-Jun.2022        10.4
      Food at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     8.525        11.8         0.962            0.29        S-Apr.2022        10.8
        Cereals and bakery products................................ .                                                                           1.118        16.1         0.166            0.54        S-Oct.2022        15.9
           Cereals and cereal products.............................. .                                                                          0.358        15.6         0.052            0.79        S-Jun.2022        15.1
                Flour and prepared flour mixes. . . . . . . . . . . . . . . . . . . . . . . . .                                                 0.059        23.4         0.012            1.42        S-Aug.2022        23.3
                Breakfast cereal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.149        13.0         0.019            1.23        S-May 2022        12.2
                Rice, pasta, cornmeal................................... .                                                                      0.149        15.4         0.021            1.21         S-Jul.2022       14.5
                     Rice4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             13.8                          1.30        S-Sep.2022        13.6
                Bakery products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.760        16.3         0.114            0.71            –              –
                     Bread4.................................................. .                                                                 0.215        15.9         0.032            1.38        L-Aug.2022        16.2
                          White bread5........................................ .                                                                             17.7                          1.37        L-Sep.1974        18.1
                          Bread other than white5. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     14.0                          1.36         S-Oct.2022       14.0
                     Fresh biscuits, rolls, muffins4. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.116        16.3         0.017            1.72        L-Aug.2022        17.1
                     Cakes, cupcakes, and cookies...................... .                                                                       0.187        17.1         0.029            1.68        S-Oct.2022        16.2
                          Cookies5............................................. .                                                                            18.2                          1.15         S-Oct.2022       16.8
                          Fresh cakes and cupcakes5. . . . . . . . . . . . . . . . . . . . . . .                                                             14.9                          2.20        L-Sep.2022        15.0
                     Other bakery products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.242        15.9         0.036            1.16         S-Jul.2022       14.9
                          Fresh sweetrolls, coffeecakes, doughnuts5. . . . . .                                                                               13.5                          1.67         L-Oct.2022       13.7
                          Crackers, bread, and cracker products5. . . . . . . . .                                                                            16.0                          1.72        S-May 2022        14.6
                          Frozen and refrigerated bakery products, pies,
                                tarts, turnovers5.................................. .                                                                        18.4                          1.90        S-Aug.2022        18.1
        Meats, poultry, fish, and eggs............................... .                                                                         1.898         7.7          0.145           0.71        L-Oct.2022         8.0
           Meats, poultry, and fish. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      1.751         4.5          0.080           0.71        L-Oct.2022         5.9
                Meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.101         2.0          0.023           0.92        L-Oct.2022         2.9
                     Beef and veal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.496        -3.1         -0.017           0.97        L-Sep.2022        -1.1
                          Uncooked ground beef. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         0.183         0.7          0.001           1.12        L-Oct.2022         0.8
                          Uncooked beef roasts4. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        0.073        -3.5         -0.003           2.91        L-Sep.2022        -2.8
                          Uncooked beef steaks4............................ .                                                                   0.192        -5.4         -0.012           1.56        L-Sep.2022        -4.8
                          Uncooked other beef and veal4. . . . . . . . . . . . . . . . . . .                                                    0.048        -6.7         -0.004           2.50        L-Oct.2022        -3.5
                     Pork..................................................... .                                                                0.353         1.5          0.005           1.71        L-Oct.2022         4.0
                          Bacon, breakfast sausage, and related
                                products4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.157         1.1         0.002            1.89        S-May 2020         0.8
                                Bacon and related products5................... .                                                                             -3.7                          2.17         S-Oct.2018       -7.6
                                Breakfast sausage and related products4, 5. . .                                                                               9.0                          1.90          L-Oct.2022      10.3
                          Ham.................................................. .                                                               0.065         5.7         0.004            2.87         S-Aug.2021        4.1
                                Ham, excluding canned5. . . . . . . . . . . . . . . . . . . . . . . .                                                         5.2                          3.44         S-Aug.2021        4.4
                          Pork chops. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.051         2.9          0.002           2.62         L-Sep.2022        5.5
                          Other pork including roasts, steaks, and ribs4.. .                                                                    0.080        -1.8         -0.002           3.71          L-Oct.2022       0.3
                     Other meats. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.252        14.7          0.035           1.13         S-Apr.2022       13.2
                          Frankfurters5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     18.2                          2.39         L-Aug.2022       18.3
                          Lunchmeats4, 5...................................... .                                                                             15.1                          1.01         S-Apr.2022       14.4
                     Poultry.................................................. .                                                                0.363        12.2         0.042            1.24         S-Jan.2022        9.8
                          Chicken4............................................. .                                                               0.294        10.9         0.031            1.29         S-Jan.2022       10.3
                                Fresh whole chicken5. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  13.3                          2.09         S-Mar.2022       10.2
                                Fresh and frozen chicken parts5. . . . . . . . . . . . . . .                                                                 10.3                          1.71         S-Oct.2021       10.2
                          Other uncooked poultry including turkey4. . . . . . . .                                                               0.069        18.1         0.011            3.14       L-EVER              –
                     Fish and seafood. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.287         5.0         0.015            0.99         S-Jun.2021        4.5
                          Fresh fish and seafood4. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        0.144         3.8         0.006            1.61        S-May 2021         3.0
                          Processed fish and seafood4. . . . . . . . . . . . . . . . . . . . . .                                                0.143         6.3         0.009            1.08         S-Nov.2021        5.5
                                Shelf stable fish and seafood5. . . . . . . . . . . . . . . . . .                                                             8.6                          1.70         L-Feb.2019        9.1
                                Frozen fish and seafood5....................... .                                                                             6.3                          1.66         S-Oct.2021        4.6
                Eggs....................................................... .                                                                   0.147        59.9         0.065            2.04         L-Sep.1973       65.2



See footnotes at end of table.


                                                                                                       Ad Hoc Equity Group Exhibit 21
                                                                                                                    29
                          Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 30 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                          Twelve Month
                                                                                                                                  Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                                importance    percent     effect on All       error,      unadjusted change since:3
                                    Expenditure category
                                                                                                                                   Nov.       change          Items          median
                                                                                                                                   2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                             Date
                                                                                                                                             Dec. 2022    Dec. 20221        change2                       change
       Dairy and related products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.811         15.3         0.115            0.49         S-Jul.2022       14.9
         Milk4.......................................................... .                                                        0.205         12.5         0.024            1.24        S-Feb.2022        11.2
            Fresh whole milk5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    11.7                          1.43        S-Jan.2022         8.2
            Fresh milk other than whole4, 5. . . . . . . . . . . . . . . . . . . . . . . . .                                                    13.5                          1.15        S-Mar.2022        12.8
         Cheese and related products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.262         12.8         0.032            0.84        L-Sep.2022        13.4
         Ice cream and related products. . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.123         15.0         0.017            1.24        S-Oct.2022        13.3
         Other dairy and related products4. . . . . . . . . . . . . . . . . . . . . . . .                                         0.222         21.4         0.042            0.93        S-Sep.2022        20.8
       Fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1.431          8.4         0.119            0.64        S-Jun.2022         8.1
         Fresh fruits and vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               1.086          6.4         0.069            0.74        S-Jan.2022         5.6
            Fresh fruits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.574          3.4         0.020            1.20        S-Dec.2020         1.4
              Apples. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.076          6.6         0.005            2.17        S-Oct.2022         4.8
              Bananas................................................ .                                                           0.078          2.4         0.002            1.54        S-Sep.2021         1.9
              Citrus fruits4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.161          2.5         0.004            2.18        S-Nov.2020         1.9
                Oranges, including tangerines5................... .                                                                              3.0                          2.06        S-Nov.2021         0.9
              Other fresh fruits4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.260          3.3         0.009            1.94        S-Dec.2020         2.8
            Fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.512          9.8         0.049            0.78        L-Mar.2011         9.8
              Potatoes................................................ .                                                          0.078         12.9         0.010            1.82        S-Jun.2022         9.0
              Lettuce. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.069         24.9         0.015            1.66        L-Mar.2011        27.3
              Tomatoes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.082          9.1         0.008            2.02         L-Oct.2020       10.3
              Other fresh vegetables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.283          5.9         0.017            0.97        S-Feb.2022         4.8
            Processed fruits and vegetables4. . . . . . . . . . . . . . . . . . . . . .                                           0.345         15.5         0.050            0.91        S-Aug.2022        14.2
              Canned fruits and vegetables4. . . . . . . . . . . . . . . . . . . . . . .                                          0.178         18.4         0.030            1.47            –              –
                Canned fruits4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      18.2                          1.39        S-Aug.2022        16.6
                Canned vegetables4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                17.6                          1.63         L-Oct.2022       18.0
              Frozen fruits and vegetables4. . . . . . . . . . . . . . . . . . . . . . . .                                        0.103         12.9         0.013            1.48        S-Aug.2022        11.4
                Frozen vegetables5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             16.4                          1.57        S-Aug.2022        11.9
              Other processed fruits and vegetables including
                dried4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.064         11.9         0.007            1.86         L-Aug.2022       12.7
                Dried beans, peas, and lentils4, 5. . . . . . . . . . . . . . . . .                                                              9.6                          2.73          L-Oct.2022      11.9
       Nonalcoholic beverages and beverage materials. . . . . . . . .                                                             0.981         12.6         0.118            0.65         S-Jun.2022       11.9
         Juices and nonalcoholic drinks4. . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.693         12.2         0.081            0.84         S-Jun.2022       11.6
            Carbonated drinks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.290         13.0         0.036            1.76          L-Oct.2022      13.2
            Frozen noncarbonated juices and drinks4. . . . . . . . . . . . .                                                      0.007          8.7         0.001            1.09          L-Jun.2012       9.4
            Nonfrozen noncarbonated juices and drinks4. . . . . . . . .                                                           0.395         11.6         0.044            0.87         S-May 2022       10.9
         Beverage materials including coffee and tea4. . . . . . . . . . .                                                        0.288         13.8         0.037            0.83         L-Aug.2022       14.0
            Coffee. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.186         14.3         0.025            1.15         S-Apr.2022       13.5
              Roasted coffee5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15.5                          1.31          L-Oct.2022      15.6
              Instant coffee5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                10.8                          1.79          S-Apr.2022       7.8
            Other beverage materials including tea4. . . . . . . . . . . . . .                                                    0.102         12.9         0.012            1.65       L-EVER              –
       Other food at home........................................... .                                                            2.285         13.9         0.300            0.40              –            –
         Sugar and sweets.......................................... .                                                             0.290         12.2         0.034            0.88          S-Jul.2022      11.4
            Sugar and sugar substitutes. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.043         14.3         0.006            1.43         L-Sep.2022       17.1
            Candy and chewing gum4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.185         11.6         0.021            1.17         S-Aug.2022       10.9
            Other sweets4............................................ .                                                           0.063         12.8         0.008            1.37          L-Oct.2022      17.4
         Fats and oils. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.261         23.2         0.053            1.12          L-Oct.2022      23.4
            Butter and margarine4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.083         35.3         0.023            1.57       L-EVER              –
              Butter5.................................................. .                                                                       31.4                          2.25         L-Mar.2011       31.9
              Margarine5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             43.8                          1.83         S-Aug.2022       38.3
            Salad dressing4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.061         18.3         0.010            1.54         S-Sep.2022       15.2
            Other fats and oils including peanut butter4. . . . . . . . . .                                                       0.117         18.2         0.020            1.77          L-Oct.2022      18.8
              Peanut butter4, 5....................................... .                                                                         7.4                          1.63          L-Oct.2022       8.4
            Other foods............................................... .                                                          1.734         12.9         0.213            0.46              –            –
              Soups................................................... .                                                          0.101         15.7         0.015            1.69          L-Oct.2022      17.0
              Frozen and freeze dried prepared foods. . . . . . . . . . .                                                         0.280         15.0         0.039            0.86          L-Oct.2022      16.4


See footnotes at end of table.


                                                                                           Ad Hoc Equity Group Exhibit 21
                                                                                                        30
                             Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 31 of 37
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December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                          Twelve Month
                                                                                                                                  Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                                importance    percent     effect on All       error,      unadjusted change since:3
                                       Expenditure category
                                                                                                                                   Nov.       change          Items          median
                                                                                                                                   2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                             Date
                                                                                                                                             Dec. 2022    Dec. 20221        change2                       change
               Snacks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           0.374        11.0         0.039            1.02         S-Apr.2022        9.8
               Spices, seasonings, condiments, sauces. . . . . . . . . . .                                                         0.330        11.8         0.037            0.78          L-Oct.2022      13.0
                  Salt and other seasonings and spices4, 5. . . . . . . .                                                                        6.5                          1.35         S-Feb.2022        4.8
                  Olives, pickles, relishes4, 5. . . . . . . . . . . . . . . . . . . . . . . . .                                                15.8                          1.31          S-Jul.2022      15.8
                  Sauces and gravies4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               15.2                          1.38         L-Sep.2022       16.3
                  Other condiments5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           8.0                          1.28          L-Oct.2022       9.9
               Baby food4............................................. .                                                           0.045        10.7         0.005            1.33         S-Feb.2022        8.4
               Other miscellaneous foods4. . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.605        13.6         0.077            0.87         S-May 2022       12.6
                  Prepared salads6, 5................................. .                                                                         9.1                          1.72         S-Mar.2022        8.7
      Food away from home.......................................... .                                                              5.257         8.3         0.429            0.28         S-Aug.2022        8.0
        Full service meals and snacks4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  2.438         8.2         0.198            0.35         S-Mar.2022        8.0
        Limited service meals and snacks4......................... .                                                               2.532         6.6         0.169            0.44          S-Jul.2021       6.6
        Food at employee sites and schools4. . . . . . . . . . . . . . . . . . . . . . .                                           0.077       129.6         0.047            3.39       L-EVER              –
          Food at elementary and secondary schools7, 5. . . . . . . . .                                                                        305.2                          9.47          L-Oct.2022     327.9
        Food from vending machines and mobile vendors4. . . . . . .                                                                0.038        14.8         0.005            0.99       L-EVER              –
        Other food away from home4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.171         6.0         0.010            0.68         L-Aug.2022        6.5
  Energy............................................................... .                                                          7.868         7.3          0.537           0.35        S-Feb.2021          2.4
    Energy commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    4.308         0.4          0.017           0.65        S-Jan.2021         -8.7
      Fuel oil and other fuels....................................... .                                                            0.257        26.0          0.050           1.86        S-Mar.2021         18.3
        Fuel oil....................................................... .                                                          0.183        41.5          0.048           2.71        S-Dec.2021         41.0
        Propane, kerosene, and firewood8....................... .                                                                  0.073         2.6          0.002           2.45        S-Dec.2020         -2.0
      Motor fuel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4.052        -0.9         -0.033           0.68        S-Jan.2021         -8.7
        Gasoline (all types). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      3.951        -1.5         -0.057           0.70        S-Jan.2021         -8.6
            Gasoline, unleaded regular5. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  -2.0                          1.12        S-Jan.2021         -8.8
            Gasoline, unleaded midgrade9, 5. . . . . . . . . . . . . . . . . . . . . . .                                                         0.2                          0.96        S-Jan.2021         -7.5
            Gasoline, unleaded premium5. . . . . . . . . . . . . . . . . . . . . . . . . .                                                       1.6                          0.91        S-Feb.2021         -0.1
        Other motor fuels4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.101        32.3         0.024            1.05        S-Jun.2021         32.1
    Energy services.................................................. .                                                            3.560        15.6         0.520            0.42        L-Oct.2022         15.6
      Electricity....................................................... .                                                         2.610        14.3         0.351            0.47        L-Sep.2022         15.5
      Utility (piped) gas service. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.950        19.3         0.170            0.87        L-Oct.2022         20.0
  All items less food and energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          78.350          5.7          4.525           0.11         S-Dec.2021         5.5
     Commodities less food and energy commodities. . . . . . . . . . . .                                                         20.882          2.1          0.466           0.22         S-Mar.2021         1.7
        Household furnishings and supplies10. . . . . . . . . . . . . . . . . . . . . .                                           3.949          7.3          0.287           0.60         S-Nov.2021         6.0
          Window and floor coverings and other linens4. . . . . . . . . .                                                         0.292          4.8          0.014           2.43         S-Sep.2022         3.9
            Floor coverings4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.069         12.5          0.008           2.37          L-Oct.2022       12.8
            Window coverings4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.056          3.2          0.002           4.65          L-Oct.2022        3.7
            Other linens4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.167          2.4          0.004           3.39         S-Sep.2022        -1.3
          Furniture and bedding. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.952          4.7          0.045           1.37         S-Mar.2021         3.5
            Bedroom furniture. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.305          2.7          0.009           2.10         S-Mar.2021         0.5
            Living room, kitchen, and dining room furniture4. . . . .                                                             0.471          6.3          0.030           2.01         S-Mar.2021         4.0
            Other furniture4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.167          3.7          0.006           2.81          S-Jul.2020        1.8
          Appliances4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.240          1.1          0.003           1.61         S-Oct.2022         0.9
            Major appliances4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.076         -0.6         -0.001           3.13          L-Oct.2022        0.1
              Laundry equipment5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            0.7                          6.20          L-Oct.2022        1.5
            Other appliances4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.161         1.9         0.003            2.12         S-Oct.2022         1.2
          Other household equipment and furnishings4. . . . . . . . . . .                                                          0.549         3.3         0.019            1.66         S-Sep.2021         1.1
            Clocks, lamps, and decorator items................... .                                                                0.331         2.1         0.007            2.59         S-Sep.2021         0.7
            Indoor plants and flowers11. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.099         6.3         0.006            2.70         S-Aug.2022         5.6
            Dishes and flatware4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.049         7.8         0.004            4.12          S-Jul.2022        7.3
            Nonelectric cookware and tableware4. . . . . . . . . . . . . . . . .                                                   0.070         2.0         0.001            2.27          L-Oct.2022        2.0
          Tools, hardware, outdoor equipment and supplies4. . . .                                                                  0.955        10.6         0.099            0.90         L-Sep.2022        12.5
            Tools, hardware and supplies4. . . . . . . . . . . . . . . . . . . . . . . . .                                         0.251        13.8         0.033            1.19       L-EVER               –
            Outdoor equipment and supplies4. . . . . . . . . . . . . . . . . . . . . .                                             0.474         9.0         0.042            1.17         L-Sep.2022        13.3


See footnotes at end of table.


                                                                                             Ad Hoc Equity Group Exhibit 21
                                                                                                          31
                         Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 32 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                       Twelve Month
                                                                                                                               Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                             importance    percent     effect on All       error,      unadjusted change since:3
                                    Expenditure category
                                                                                                                                Nov.       change          Items          median
                                                                                                                                2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                          Date
                                                                                                                                          Dec. 2022    Dec. 20221        change2                       change
         Housekeeping supplies.................................... .                                                           0.961         11.6         0.107            0.88          S-Jul.2022      11.0
            Household cleaning products4. . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.345          9.8         0.033            1.24         S-Mar.2022        8.7
            Household paper products4. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 0.225         14.9         0.032            1.66       L-EVER              –
            Miscellaneous household products4. . . . . . . . . . . . . . . . . . .                                             0.390         11.4         0.043            1.51          S-Jul.2022      10.2
       Apparel......................................................... .                                                      2.409          2.9         0.071            0.85         S-Apr.2021        1.9
         Men’s and boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.602          2.2         0.014            1.47         L-Oct.2022        2.7
            Men’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..... .                 0.465          2.9         0.014            1.65         L-Oct.2022        3.2
               Men’s suits, sport coats, and outerwear. . . . . . . . . . . .                                                  0.076          8.3         0.006            4.72         L-Sep.2022        9.5
               Men’s underwear, nightwear, swimwear, and
                 accessories. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0.156          1.6          0.003           2.63        L-Oct.2022          1.8
               Men’s shirts and sweaters4. . . . . . . . . . . . . . . . . . . . . . . . . . .                                 0.114          2.7          0.003           2.95        L-Sep.2022          4.2
               Men’s pants and shorts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.114          1.5          0.002           3.94            –               –
            Boys’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.137          0.0          0.000           2.64        L-Oct.2022          1.2
         Women’s and girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.956          4.1          0.039           1.37         S-Jul.2022         4.1
            Women’s apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.803          3.9          0.032           1.51        S-Jun.2022          3.5
               Women’s outerwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          0.056         -0.6          0.000           4.67        L-Sep.2022          3.6
               Women’s dresses..................................... .                                                          0.087         -2.3         -0.002           3.19        S-Mar.2021        -11.4
               Women’s suits and separates4...................... .                                                            0.386          4.5          0.017           2.25        S-Jun.2022          3.1
               Women’s underwear, nightwear, swimwear, and
                 accessories4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.266          6.2          0.016           2.82         S-Sep.2022         5.6
            Girls’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          0.153          5.1          0.008           4.60         S-Aug.2022         4.8
         Footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     0.586          0.8          0.005           1.13         S-Mar.2021        -0.2
            Men’s footwear........................................... .                                                        0.199          0.5          0.001           1.67         S-Feb.2021         0.4
            Boys’ and girls’ footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.113          2.9          0.003           2.88         L-Sep.2022         3.5
            Women’s footwear....................................... .                                                          0.274          0.1          0.000           1.75         S-Mar.2021        -0.9
         Infants’ and toddlers’ apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.112          5.0          0.006           5.09         L-Sep.2022         6.7
         Jewelry and watches8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0.153          5.0          0.008           3.48         S-Oct.2022         2.5
            Watches8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        0.029          1.5          0.000           2.94         S-Aug.2022         1.3
            Jewelry8................................................... .                                                      0.124          5.9          0.007           4.37         L-Jan.2022         6.5
       Transportation commodities less motor fuel10. . . . . . . . . . . . .                                                   8.212         -0.9         -0.083           0.36         S-Jun.2020        -1.1
         New vehicles................................................ .                                                        4.068          5.9          0.242           0.65         S-Jun.2021         5.3
            New cars5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        6.2                          0.67          S-Jul.2021        5.7
            New trucks12, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            6.0                          0.78         S-Jun.2021         5.7
         Used cars and trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     3.624         -8.8         -0.366           0.10        S-May 2009        -10.0
         Motor vehicle parts and equipment. . . . . . . . . . . . . . . . . . . . . . .                                        0.435          9.9          0.042           0.79         S-Oct.2021         8.8
            Tires....................................................... .                                                     0.272          8.7          0.023           0.91         S-Sep.2021         8.3
            Vehicle accessories other than tires4. . . . . . . . . . . . . . . . . .                                           0.164         11.8          0.018           1.56         S-Mar.2022        10.5
               Vehicle parts and equipment other than tires5. . . . .                                                                         8.8                          1.37         S-Mar.2022         8.6
               Motor oil, coolant, and fluids5. . . . . . . . . . . . . . . . . . . . . . . .                                                19.1                          2.37         S-Oct.2022        19.1
       Medical care commodities. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1.472          3.2          0.049           0.56         L-Sep.2022         3.7
         Medicinal drugs10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.369          2.8          0.040           0.57             –              –
            Prescription drugs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.995          1.8          0.019           0.67         S-Apr.2022         1.7
            Nonprescription drugs10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0.375          5.4          0.020           1.24             –              –
         Medical equipment and supplies10. . . . . . . . . . . . . .......... .                                                0.103          9.2          0.009           1.33       L-EVER               –
       Recreation commodities10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1.874          4.1          0.079           0.57          L-Oct.2022        4.3
         Video and audio products10............................... .                                                           0.271         -7.5         -0.023           1.16          L-Oct.2022       -7.2
            Televisions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         0.118        -14.4         -0.021           1.72         L-Jun.2022       -12.7
            Other video equipment4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            0.023         -8.6         -0.002           2.15          L-Oct.2022       -5.9
            Audio equipment......................................... .                                                         0.072         -0.6          0.000           3.21        S-May 2022         -0.7
            Recorded music and music subscriptions4. . . . . . . . . . . .                                                     0.051          1.4          0.001           1.24         S-Oct.2022         0.7
         Pets and pet products. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.575         12.6          0.069           0.79         S-Oct.2022        12.5
            Pet food4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      15.2                          1.21         S-Oct.2022        15.0
            Purchase of pets, pet supplies, accessories4, 5. . . . . .                                                                        8.7                          1.93         S-Sep.2022         7.7
         Sporting goods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             0.549          3.5         0.019            1.45         L-Aug.2022         3.8


See footnotes at end of table.


                                                                                         Ad Hoc Equity Group Exhibit 21
                                                                                                      32
                            Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 33 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                            Twelve Month
                                                                                                                                    Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                                  importance    percent     effect on All       error,      unadjusted change since:3
                                       Expenditure category
                                                                                                                                     Nov.       change          Items          median
                                                                                                                                     2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                               Date
                                                                                                                                               Dec. 2022    Dec. 20221        change2                       change
            Sports vehicles including bicycles. . . . . . . . . . . . . . . . . . . . . .                                            0.315         2.9         0.009            2.09        L-Aug.2022          2.9
            Sports equipment........................................ .                                                               0.223         4.3         0.010            1.94        S-Dec.2021          4.1
         Photographic equipment and supplies. . . . . . . . . . . . . . . . . . .                                                    0.020         5.9         0.001            2.22        L-Sep.2022          6.1
            Photographic equipment4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    5.1                          2.67        L-Sep.2022          5.9
         Recreational reading materials. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.095         4.4         0.004            1.28        L-Oct.2022          4.5
            Newspapers and magazines4. . . . . . . . . . . . . . . . . . . . . . . . . . .                                           0.056         6.5         0.004            1.67        L-Oct.2022          7.9
            Recreational books4..................................... .                                                               0.039         1.5         0.001            1.82        L-Sep.2022          1.5
         Other recreational goods4................................. .                                                                0.364         2.1         0.008            1.36        L-Oct.2022          3.7
            Toys. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.281         1.3         0.004            1.65        L-Oct.2022          3.1
              Toys, games, hobbies and playground
                 equipment4, 5........................................ .                                                                           3.5                          2.20       S-May 2022           2.9
            Sewing machines, fabric and supplies4. . . . . . . . . . . . . . .                                                       0.026         6.3          0.002           3.11        L-Oct.2022          8.9
            Music instruments and accessories4. . . . . . . . . . . . . . . . . . .                                                  0.042         5.5          0.002           2.39       S-Oct.2022           4.7
       Education and communication commodities10. . . . . . . . . . . . .                                                            0.725       -10.1         -0.086           1.66     S-EVER                 –
         Educational books and supplies. . . . . . . . . . . . . . . . . . . . . . . . . .                                           0.086         5.4          0.005           2.04       L-Mar.2017           6.0
            College textbooks13, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          6.3                          2.25       L-Mar.2017           7.6
         Information technology commodities10. . . . . . . . . . . . . . . . . . .                                                   0.639       -11.8         -0.091           1.97     S-EVER                 –
            Computers, peripherals, and smart home
              assistants6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.326        -5.8         -0.021           2.76        S-Jan.2020         -5.8
            Computer software and accessories4. . . . . . . . . . . . . . . . . .                                                    0.019        -3.1         -0.001           3.69        S-May 2022         -3.9
            Telephone hardware, calculators, and other
              consumer information items4. . . . . . . . . . . . . . . . . . . . . . . . .                                           0.295       -18.0         -0.069           2.38        S-May 2021        -19.1
              Smartphones5, 14...................................... .                                                                           -22.2                          3.54        L-Sep.2022        -21.0
       Alcoholic beverages. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      0.877         5.8         0.051            0.73        L-Dec.1991          9.9
         Alcoholic beverages at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.583         5.3         0.031            0.90         L-Jan.1992         5.9
            Beer, ale, and other malt beverages at home. . . . . . . .                                                               0.225         8.6         0.019            1.63        L-Dec.1991         11.8
            Distilled spirits at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             0.105         1.7         0.002            1.09             –              –
              Whiskey at home5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            1.6                          1.62         S-Oct.2022         0.6
              Distilled spirits, excluding whiskey, at home5. . . . . .                                                                            1.5                          1.55         S-Oct.2022         0.4
            Wine at home. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.253         3.9         0.010            1.33        L-Mar.2009          3.9
         Alcoholic beverages away from home................... .                                                                     0.294         6.8         0.020            1.13        S-Sep.2022          5.8
            Beer, ale, and other malt beverages away from
              home4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            6.1                          1.31         S-Jun.2022         6.0
            Wine away from home4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   7.8                          0.95         S-Sep.2022         6.9
            Distilled spirits away from home4, 5. . . . . . . . . . . . . . . . . . . .                                                            7.4                          1.44       L-EVER               –
       Other goods10. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              1.364         7.2         0.097            0.44         S-Oct.2022         7.2
         Tobacco and smoking products. . . . . . . . . . . . . . . . . . . . . . . . . . .                                           0.520         5.5         0.029            0.77         S-Dec.2020         5.1
            Cigarettes4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.450         5.5         0.025            0.87         S-Dec.2020         5.4
            Tobacco products other than cigarettes4. . . . . . . . . . . . . .                                                       0.065         5.1         0.003            0.75         S-Apr.2022         4.5
         Personal care products.................................... .                                                                0.653         7.5         0.049            0.57         L-Dec.1982         7.5
            Hair, dental, shaving, and miscellaneous personal
              care products4......................................... .                                                              0.338         9.9         0.033            0.69       L-EVER               –
            Cosmetics, perfume, bath, nail preparations and
              implements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.305         5.0         0.015            1.08         S-Oct.2022         4.8
         Miscellaneous personal goods4. . . . . . . . . . . . . . . . . . . . . . . . . . .                                          0.190        10.8         0.020            1.63             –              –
            Stationery, stationery supplies, gift wrap5. . . . . . . . . . . . .                                                                  16.4                          2.75       L-EVER               –
     Services less energy services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              57.469          7.0         4.059            0.12         L-Aug.1982         8.2
       Shelter.......................................................... .                                                         32.929          7.5         2.474            0.14          L-Jul.1982        7.6
         Rent of shelter15............................................ .                                                           32.569          7.6         2.473            0.14       L-EVER               –
            Rent of primary residence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  7.447          8.3         0.618            0.15         L-Jan.1982         8.4
            Lodging away from home4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.887          3.2         0.029            2.60             –              –
              Housing at school, excluding board15. . . . . . . . . . . . . . .                                                     0.124          2.9         0.004            0.31         L-May 2017         3.0
              Other lodging away from home including hotels
                 and motels. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.762          3.2         0.025            2.99         S-Sep.2022         3.1
            Owners’ equivalent rent of residences15. . . . . . . . . . . . . .                                                     24.235          7.5         1.826            0.12       L-EVER               –


See footnotes at end of table.


                                                                                              Ad Hoc Equity Group Exhibit 21
                                                                                                           33
                       Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 34 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                     Twelve Month
                                                                                                                             Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                           importance    percent     effect on All       error,      unadjusted change since:3
                                 Expenditure category
                                                                                                                              Nov.       change          Items          median
                                                                                                                              2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                         Date
                                                                                                                                        Dec. 2022    Dec. 20221        change2                       change
             Owners’ equivalent rent of primary residence15. . .                                                            22.978          7.5         1.735            0.12       L-EVER              –
           Tenants’ and household insurance4. . . . . . . . . . . . . . . . . . .                                            0.360          0.4         0.002            0.79         S-Oct.2022        0.2
         Water and sewer and trash collection services4. . . . . . . .                                                       1.089          4.9         0.055            0.30         S-Oct.2022        4.8
           Water and sewerage maintenance. . . . . . . . . . . . . . . . . . . . .                                           0.782          4.5         0.036            0.25         L-Sep.2022        4.8
           Garbage and trash collection12. . . . . . . . . . . . . . . . . . . . . . . . .                                   0.308          6.1         0.019            0.76         S-Oct.2022        5.8
         Household operations4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           Domestic services4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.235         3.7         0.009            1.16        S-May 2022         1.6
           Gardening and lawncare services4.................... .
           Moving, storage, freight expense4..................... .                                                           0.100         1.1         0.001            2.55        S-Aug.2020         -0.5
           Repair of household items4. . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         Medical care services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     6.788         4.1         0.287            0.34        S-May 2022         4.0
           Professional services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       3.455         3.0         0.106            0.43         S-Aug.2022        2.4
             Physicians’ services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1.807         1.7         0.032            0.69          L-Oct.2022       1.8
             Dental services........................................ .                                                        0.920         6.4         0.059            0.74              –            –
             Eyeglasses and eye care8. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  0.352         1.7         0.006            1.04         S-Aug.2022        1.4
             Services by other medical professionals8. . . . . . . . . .                                                      0.376         2.1         0.008            0.64         S-Nov.2021        2.1
           Hospital and related services. . . . . . . . . . . . . . . . . . . . . . . . . . .                                 2.491         4.6         0.118            0.55           L-Jul.2020      4.7
             Hospital services16.................................... .                                                        2.123         4.4         0.098            0.60         L-Sep.2020        4.6
                Inpatient hospital services16, 5. . . . . . . . . . . . . . . . . . . . .                                                   4.1                          1.16          L-Jan.2022       4.1
                Outpatient hospital services8, 5. . . . . . . . . . . . . . . . . . . .                                                     4.7                          0.99         L-Mar.2018        5.1
             Nursing homes and adult day services16. . . . . . . . . . .                                                      0.205         4.7          0.010           0.52         L-Aug.2022        4.8
             Care of invalids and elderly at home7.............. .                                                            0.163         6.1          0.010           1.96         L-Sep.2021        8.1
           Health insurance7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.842         7.9          0.063           0.34         S-Mar.2022        7.1
         Transportation services.................................... .                                                        6.018        14.6          0.816           0.57          L-Oct.2022      15.2
           Leased cars and trucks13............................... .                                                          0.849                      0.193           1.69              –            –
           Car and truck rental4. . . . . . . . . . . . . . . . . . . . . . . . . . . ......... .                             0.141        -4.9         -0.008           3.92          L-Oct.2022      -3.5
           Motor vehicle maintenance and repair................ .                                                             1.087        13.0          0.135           0.62         L-Jun.1975       14.1
             Motor vehicle body work. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               0.053        10.1          0.005           0.94         S-Nov.2021        8.0
             Motor vehicle maintenance and servicing. . . . . . . . . .                                                       0.589         9.2          0.053           0.77         S-Oct.2022        8.0
             Motor vehicle repair4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         0.400        19.5          0.071           1.33       L-EVER              –
           Motor vehicle insurance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           2.532        14.2          0.339           0.97         L-May 2021       16.9
           Motor vehicle fees4...................................... .                                                        0.496         1.8          0.009           0.75              –            –
             State motor vehicle registration and license
                fees4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      0.287         2.5         0.008            0.28         L-Oct.2022        2.5
             Parking and other fees4.............................. .                                                          0.194         0.7         0.001            1.55         S-Mar.2021       -0.5
                Parking fees and tolls4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                             1.5                          2.29         L-Oct.2022        2.7
           Public transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     0.914        18.9         0.147            1.44         S-Mar.2022       14.9
             Airline fares. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ... .             0.630        28.5         0.137            2.32          S-Jul.2022      27.7
             Other intercity transportation. . . . . . . . . . . . . . . . . . . . . . . . .                                  0.091         2.0         0.002            2.93         L-Oct.2022        4.1
                Ship fare4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           -2.6                          2.37         L-Oct.2022       -0.6
             Intracity transportation................................ .                                                       0.191         4.0         0.008            1.51         L-Sep.2022        4.6
                Intracity mass transit10, 5. . . . . . . . . . . . . . . . . . . . . . . . . . .                                            0.2                          4.43         S-Sep.2021       -2.7
         Recreation services10...................................... .                                                        3.147         5.7         0.182            0.47       L-EVER              –
           Video and audio services10. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                1.141         4.2         0.049            0.43             –             –
             Cable and satellite television service12. . . . . . . . . . . . .                                                1.047         4.0         0.042            0.44             –             –
             Video discs and other media, including rental of
                video4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0.094         7.6         0.007            4.53         L-Jan.2012        8.2
                Video discs and other media4, 5. . . . . . . . . . . . . . . . . . .                                                        9.7                          5.35         L-Sep.2022       12.4
                Rental of video discs and other media4, 5. . . . . . . .                                                                   10.2                          1.34         L-Jun.2012       11.5
           Pet services including veterinary4. . . . . . . . . . . . . . . . . . . . . .                                      0.524         9.1         0.046            0.68         S-Jun.2022        7.9
             Pet services4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              7.5                          1.11       L-EVER              –
             Veterinarian services4, 5.............................. .                                                                      8.8                          1.31         S-Jun.2022        7.5
           Photographers and photo processing4. . . . . . . . . . . . . . . .                                                 0.030         5.8         0.002            1.15         L-Oct.2022        6.5
           Other recreation services4.............................. .                                                         1.452         5.7         0.085            0.92         L-Feb.2022        5.8


See footnotes at end of table.


                                                                                       Ad Hoc Equity Group Exhibit 21
                                                                                                    34
                               Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 35 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
 [1982-84=100, unless otherwise noted]
                                                                                                                                                                                  Twelve Month
                                                                                                                                          Relative   Unadjusted   Unadjusted        Standard     Largest (L) or Smallest (S)
                                                                                                                                        importance    percent     effect on All       error,     unadjusted change since:3
                                          Expenditure category
                                                                                                                                           Nov.       change          Items          median
                                                                                                                                           2022      Dec. 2021-   Dec. 2021-          price                      Percent
                                                                                                                                                                                                    Date
                                                                                                                                                     Dec. 2022    Dec. 20221        change2                      change
                     Club membership for shopping clubs, fraternal, or
                       other organizations, or participant sports
                       fees4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            0.634         5.2         0.034            0.85       L-May 2020         7.3
                     Admissions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   0.458         5.7         0.026            1.76       L-Mar.2022         7.0
                       Admission to movies, theaters, and
                          concerts4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    6.5                          1.65       S-Oct.2022         6.5
                       Admission to sporting events4, 5.................. .                                                                             -1.5                          6.53       L-Mar.2022         8.7
                     Fees for lessons or instructions8. . . . . . . . . . . . . . . . . . . .                                              0.171         7.8         0.014            1.75       L-Jun.1990         7.8
                Education and communication services10............... .                                                                    5.316         2.4         0.134            0.22       L-Jun.2021         2.4
                  Tuition, other school fees, and childcare. . . . . . . . . . . . . .                                                     2.502         3.3         0.085            0.33       L-Jun.2019         3.3
                     College tuition and fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 1.428         2.3         0.034            0.41       L-Aug.2022         2.8
                     Elementary and high school tuition and fees. . . . . .                                                                0.315         3.7         0.012            0.36        L-Jul.2019        4.1
                     Day care and preschool11. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.631         5.4         0.035            0.71       L-May 2006         5.5
                     Technical and business school tuition and fees4.. .                                                                   0.038         1.5         0.001            0.48       L-Sep.2021         1.5
                  Postage and delivery services4. . . . . . . . . . . . . . . . . . . . . . . . .                                          0.084         4.6         0.004            0.13       L-Jan.2022         5.0
                     Postage. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              0.075         3.6         0.003            0.11       L-Jan.2022         4.6
                     Delivery services4..................................... .                                                             0.009        13.3         0.001            0.74       S-Aug.2022        11.5
                  Telephone services4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             1.807         1.9         0.036            0.30       L-Jun.2021         4.4
                     Wireless telephone services4. . . . . . . . . . . . . . . . . . . . . . . .                                           1.501         1.3         0.020            0.38       L-Jun.2021         3.9
                     Residential telephone services10. . . . . . . . . . . . . . . . . . . .                                               0.306         4.9         0.015            0.89        L-Apr.2022        6.0
                  Internet services and electronic information
                     providers4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               0.915         1.1         0.010            0.78       S-Oct.2022         0.5
                Other personal services10. . . . . . . . . ........................ .                                                      1.366         5.5         0.077            0.50       S-Jan.2022         5.4
                  Personal care services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                0.542         6.3         0.034            1.02       S-Oct.2022         5.6
                     Haircuts and other personal care services4. . . . . . . .                                                             0.542         6.3         0.034            1.02       S-Oct.2022         5.6
                  Miscellaneous personal services. . . . . . . . . . . . . . . . . . . . . . .                                             0.823         5.1         0.042            0.37       S-Dec.2021         4.5
                     Legal services8........................................ .                                                             0.230         6.0         0.014            0.43       S-Oct.2022         5.4
                     Funeral expenses8.................................... .                                                               0.146         5.1         0.008            0.52       L-Jan.2009         5.1
                     Laundry and dry cleaning services4. . . . . . . . . . . . . . . . .                                                   0.154         7.1         0.011            0.82       S-Sep.2022         7.0
                     Apparel services other than laundry and dry
                       cleaning4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  0.018        12.8         0.002            1.06       S-Aug.2022          9.1
                     Financial services8.................................... .                                                             0.192         1.8         0.004            0.78       S-Sep.2021         -0.1
                       Checking account and other bank services4, 5.. .                                                                                  2.4                          2.34           –               –
                       Tax return preparation and other accounting
                          fees4, 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           1.07            –             –
                                  Special aggregate indexes
  All items less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 86.219          5.8         5.062            0.10       S-Sep.2021         5.5
  All items less shelter............................................... .                                                                67.071          5.9         3.980            0.10       S-Apr.2021         5.2
  All items less food and shelter. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 53.290          4.8         2.588            0.12       S-Mar.2021         3.0
  All items less food, shelter, and energy. . . . . . . . . . . . . . . . . . . . . . . . . .                                            45.421          4.4         2.051            0.14       S-Apr.2021         3.6
  All items less food, shelter, energy, and used cars and
     trucks.............................................................. .                                                              41.797          5.7         2.417            0.15       S-Feb.2022         5.5
  All items less medical care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             91.740          6.7         6.118            0.09       S-Oct.2021         6.7
  All items less energy............................................... .                                                                 92.132          6.4         5.917            0.09       S-Jan.2022         6.2
  Commodities........................................................ .                                                                  38.971          4.8         1.875            0.14       S-Mar.2021         4.1
     Commodities less food, energy, and used cars and
        trucks. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ........................... .                              17.257          4.7          0.832           0.26       S-Sep.2021          4.5
     Commodities less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            25.190          1.9          0.483           0.20       S-Feb.2021          1.4
     Commodities less food and beverages. . . . . . . . . . . . . . . . . . . . . . . .                                                  24.313          1.7          0.431           0.22       S-Feb.2021          1.3
  Services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    61.029          7.5          4.580           0.11       L-Aug.1982          8.6
     Services less rent of shelter15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  28.460          7.4          2.107           0.16        L-Oct.2022         7.5
     Services less medical care services. . . . . . . . . . . . . . . . . . . . . . . . . . .                                            54.240          8.0          4.293           0.12       L-Aug.1982          8.3
  Durables............................................................. .                                                                12.310         -0.1         -0.013           0.31        S-Jul.2020        -0.1
  Nondurables. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           26.661          7.3          1.887           0.17        S-Jul.2021         7.2


See footnotes at end of table.


                                                                                                  Ad Hoc Equity Group Exhibit 21
                                                                                                               35
                                Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 36 of 37
Table 7. Consumer Price Index for All Urban Consumers (CPI-U): U.S. city average, by expenditure category,
December 2022, 12-month analysis table — Continued
    [1982-84=100, unless otherwise noted]
                                                                                                                                                                               Twelve Month
                                                                                                                                       Relative   Unadjusted   Unadjusted        Standard      Largest (L) or Smallest (S)
                                                                                                                                     importance    percent     effect on All       error,      unadjusted change since:3
                                          Expenditure category
                                                                                                                                        Nov.       change          Items          median
                                                                                                                                        2022      Dec. 2021-   Dec. 2021-          price                       Percent
                                                                                                                                                                                                  Date
                                                                                                                                                  Dec. 2022    Dec. 20221        change2                       change
      Nondurables less food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      12.880          3.9          0.495           0.28         S-Feb.2021       -0.2
      Nondurables less food and beverages. . . . . . . . . . . . . . . . . . . . . . . .                                              12.003          3.8          0.444           0.29         S-Feb.2021       -0.4
      Nondurables less food, beverages, and apparel. . . . . . . . . . . . .                                                           9.594          4.0          0.373           0.29         S-Feb.2021        0.6
      Nondurables less food and apparel. . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        10.471          4.2          0.424           0.27         S-Feb.2021        0.7
    Housing.............................................................. .                                                           42.599          8.1          3.420           0.12         L-Jun.1982        8.7
    Education and communication4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  6.041          0.7          0.048           0.25              –            –
      Education4........................................................ .                                                             2.588          3.3          0.089           0.33          L-Apr.2019       3.3
      Communication4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                3.454         -1.1         -0.041           0.38              –            –
          Information and information processing4. . . . . . . . . . . . . . . . . . .                                                 3.369         -1.2         -0.045           0.39              –            –
          Information technology, hardware and services17. . . . . . . . .                                                             1.562         -4.6         -0.081           0.88         S-Aug.2015       -5.2
    Recreation4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     5.021          5.1          0.261           0.38       L-EVER              –
      Video and audio4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1.411          1.8          0.026           0.45         L-Jun.2022        2.7
      Pets, pet products and services4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1.099         10.9          0.115           0.53         S-Aug.2022       10.1
      Photography4..................................................... .                                                              0.051          5.8          0.003           1.07         L-Sep.2022        6.4
    Food and beverages............................................... .                                                               14.659         10.1          1.443           0.19         S-Jun.2022       10.0
      Domestically produced farm food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       7.179         12.1          0.828           0.30              –            –
    Other services. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        9.829          3.9          0.393           0.19         L-Sep.2008        3.9
    Apparel less footwear. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1.823          3.6          0.067           1.01         S-Sep.2021        2.5
    Fuels and utilities................................................... .                                                           4.906         13.5          0.625           0.29         L-Oct.2022       14.2
      Household energy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  3.817         16.2          0.570           0.41         L-Oct.2022       17.1
    Medical care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      8.260          4.0          0.336           0.29        S-May 2022         3.7
    Transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       18.282          3.9          0.700           0.28         S-Feb.2021        0.6
      Private transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   17.368          3.2          0.553           0.26         S-Feb.2021        2.2
          New and used motor vehicles4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8.767          0.7          0.061           0.39          S-Jul.2020      -0.2
    Utilities and public transportation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               8.418          9.8          0.800           0.24         L-Oct.2022        9.9
    Household furnishings and operations. . . . . . . . . . . . . . . . . . . . . . . . . . .                                          4.764          6.7          0.321           0.50         S-Nov.2021        6.5
    Other goods and services......................................... .                                                                2.729          6.4          0.174           0.36          S-Jul.2022       6.3
      Personal care. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2.209          6.6          0.145           0.37         S-Oct.2022        6.4

1
  The ’effect’ of an item category is a measure of that item’s contribution to the All items price change. For example, if the Food index had an effect of
  0.40, and the All items index rose 1.2 percent, then the increase in food prices contributed 0.40 / 1.2, or 33.3 percent, to that All items increase.
  Said another way, had food prices been unchanged for that year the change in the All items index would have been 1.2 percent minus 0.40, or 0.8
  percent. Effects can be negative as well. For example, if the effect of food was a negative 0.1, and the All items index rose 0.5 percent, the All items
  index actually would have been 0.1 percent higher (or 0.6 percent) had food prices been unchanged. Since food prices fell while prices overall were
  rising, the contribution of food to the All items price change was negative (in this case, -0.1 / 0.5, or minus 20 percent).
2
  A statistic’s margin of error is often expressed as its point estimate plus or minus two standard errors. For example, if a CPI category rose 2.6
  percent, and its standard error was 0.25 percent, the margin of error on this item’s 12-month percent change would be 2.6 percent, plus or minus
  0.5 percent.
3
  If the current 12-month percent change is greater than the previous published 12-month percent change, then this column identifies the closest prior
  month with a 12-month percent change as (L)arge as or (L)arger than the current 12-month change. If the current 12-month percent change is
  smaller than the previous published 12-month percent change, the most recent month with a change as (S)mall or (S)maller than the current month
  change is identified. If the current and previous published 12-month percent changes are equal, a dash will appear. Standard numerical comparison
  is used. For example, 2.0% is greater than 0.6%, -4.4% is less than -2.0%, and -2.0% is less than 0.0%. Note that a (L)arger change can be a
  smaller decline, for example, a -0.2% change is larger than a -0.4% change, but still represents a decline in the price index. Likewise, (S)maller
  changes can be increases, for example, a 0.6% change is smaller than 0.8%, but still represents an increase in the price index. In this context, a
  -0.2% change is considered to be smaller than a 0.0% change.
4
  Indexes on a December 1997=100 base.
5
  Special indexes based on a substantially smaller sample. These series do not contribute to the all items index aggregation and therefore do not
  have a relative importance or effect.
6
  Indexes on a December 2007=100 base.
7
  Indexes on a December 2005=100 base.
8
  Indexes on a December 1986=100 base.
9
  Indexes on a December 1993=100 base.
10
    Indexes on a December 2009=100 base.
11
    Indexes on a December 1990=100 base.
12
    Indexes on a December 1983=100 base.
13
    Indexes on a December 2001=100 base.
14
    Indexes on a December 2019=100 base.
15
    Indexes on a December 1982=100 base.




                                                                                                 Ad Hoc Equity Group Exhibit 21
                                                                                                              36
                 Case 22-90341 Document 576-21 Filed in TXSB on 02/27/23 Page 37 of 37
16
     Indexes on a December 1996=100 base.
17
     Indexes on a December 1988=100 base.




                                            Ad Hoc Equity Group Exhibit 21
                                                         37
